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              EXHIBIT H
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  NFL Player Disability & Survivor Benefit Plan
  October 2022


  Dear NFL Player,

  This booklet gives you a quick summary of the three disability benefits available to eligible former
  National Football League (''NFL'.') Players and the survivor benefits available to the surviving family
  members of certain deceased former NFL Players under the NFL Player Disability & Survivor Benefit Plan
  ("Plan" or "Disability Plan").

  This booklet, written in plain language, is not a substitute for the official Plan document, which provides
  all the details, rules, and exceptions. In the event of a conflict between this booklet and the official Plan
  document, the official Plan document will be followed. To review the official Plan document, contact
  the NFL Player Benefits Office at 800.638. 3186 or visit nflplayerbenefits.com.




        Here you'll learn

          • The differences among benefits under the Disability Plan

          • What those differences may mean to you


  The Disability Plan's rules and requirements have changed over the years. Survivor benefits were
  added effective April 1, 2020. This booklet summarizes the Plan's provisions as of October 2022. For
  information about Plan rules that may affect benefits that were awarded prior to October 2022, contact
  the NFL Player Benefits Office.

  Please take the time to read this booklet, share it with your family and keep it in your permanent
  records. Should you have any questions, call the NFL Player Benefits Office at 800.638.3186.

  Sincerely,
  The Disability Board




  ■                 NFLPlayerBenefits.com

      A             Confirm your Credited Seasons, apply for Disability Plan benefits, and learn how to make the most of the
                    benefits and resources available to you as an NFL Player.


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  Plavers A,,ooar,on I NFLPA"l and the Nat1011al Foo ball League Ma11aa.a111€nt Counc ,I I NFLMC"




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NFL PLAYER DISABILITY & SURVIVOR BENEFIT PLAN




Disability Benefits
At a glance
Who is eligible to receive disability benefits?
Each of the three disability benefits available under the Disability Plan has its own eligibility
rules. Your eligibility for a disability benefit will depend on whether you satisfy the Plan's medical
requirements, which consider factors such as:



          • What your impairment is

          • How severe your impairment is

          • How long your impairment is expected to last

          • Whether your impairment was caused by NFL-football activities or certain medical
             conditions, as described on pages 12 and 23



Your eligibility for a disability benefit will also depend on whether you satisfy the Plan's administrative
requirements, which consider factors such as:



          • How long it has been since your NFL career ended

          • How many Credited Seasons you have earned

          • Whether you have started receiving pension benefits from the Pension Plan

          • The date your application is received by the Plan

          • Your adherence to Plan application procedures



You will find detailed information about eligibility for each benefit here in this document.




        Look out for this icon for information                    Look out for this icon for information
             about medical eligibility                             about administrative eligibility
                  for each benefit.                                         for each benefit.



QUESTIONS                                                                                                     4
Call the NFL Player Benefits Office 800 .638 . 3186

                                                          JO-00461
                                                                                                           NFL_ALFORD-0012102
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  THE DISABILITY BENEFITS: AT A G LANCE




  Understanding the disability benefits
  There are three disability benefits available under the Disability Plan, each with its own eligibility
  rules, award amounts, and other considerat ions:




                                               LoD                                           NC
      Total & Permanent                      Line-of-Duty                              Neurocognitive
      Disability ("T&P")                   Disabilit y ("LOO")                         Disability ("NC")
            benefits                           benefits                                    benefits
       For former Players who           For former Players who have a             For former Players with a mild
        are unable to work              substantial disablement due               or moderate neurocognitive
           due to disability               to NFL-football activities                        impairment

      Le arn about T&P on page 8         Learn about LOO on page 22                 Learn about NC on page 27




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THE DISABILITY BENEFITS: AT A GLANCE




Applying for disability benefits

                                  Choose the benefit(s) you want to apply for

                   NC:            You may apply for more than one benefit, but you can only have one
                                  application pending at the same time.
                                  Learn more on page 35



                                  Complete the application(s) and provide supporting
                                  documents
          C:I-
          C:I-                    Apply online at nflplayerbenefits.com or by submitting a paper version
          C:I-
                                  of the application form(s) to the NFL Player Benefits Office; you must also
                                  submit at least one medical record to support your application.
                                  Learn more on page 36


                                  Attend a medical examination by one or more Neutral
                                  Physicians
                                  If requested, you must attend these examinations to be approved for
                                  benefits.
                                  Learn more on page 38



                                  Await a decision by the Disability Initial Claims Committee
                                  ("Committee")
                                  A decision generally occurs wit hin 45 days of receipt of your completed
                                  application.
                                  Learn more on page 40



What happens next


                            ✓                                                        X
          If your application is approved                              If your application is denied
    You will receive only one disability benefit                         You have a right to appeal.
    at a time (if you applied for more than one).                          Learn more on page 44
    You also are required to demonstrate your
         continued eligibility for the benefit.
                 Learn more on page 41



QUESTIONS                                                                                                       6
Call the "JFL Pldyer Benefits Office 800.638 . 3186

                                                          JO-00463
                                                                                                             NFL_ALFORD-0012104
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  THE DISABILITY BENEFITS: AT A G LANCE




  The Disability Benefits - Key actions
  Not every Player qualifies for disability benefits. The Committee and/or the Disability Board ("Board")
  carefully reviews each application, and makes a decision on an individual basis.

  Be sure to take the following key actions:



         Take the time to fully understand the requirements for the disability benefit(s) you want to
         apply for.



  • Be sure to apply on time. Pay close attention to the application deadline for each benefit. Late
      applications will be denied, and in some cases, award amounts vary based on when the application is
      received.

  • Support your application. Your application doesn't have to be long, but it must identify the
      conditions and disablements you believe qualify you for the benefit. At least one medical record is
      required to support your application for the benefit.

  • Take care when scheduling and attending required examinations. You may be asked to undergo
      at least one medical examination by a Neutral Physician. You must attend scheduled exams. Plan
      rules limit cancellations and rescheduling, so prepare accordingly.

  • Respond quickly to any requests. The Committee and/or Board may require additional information
      from you to process your application. Respond to any requests in a timely manner. If you refuse or fail
      to provide the requested information, you will not be entitled to benefits. NFL Player Benefits Office
      staff is ready to help with any questions you may have.

  • Be aware of your next steps. If your application is denied for any reason, you may appeal. Even if
      your application is approved, there may be additional steps you need to t ake over time. If you have
      any questions about a decision or your options, contact the NFL Player Benefits Office.




        The NFL Player Benefits Office is ready to help
        If you have any questions about the Disability Plan, contact the NFL Player Benefits Office.
        Call 800.638.3186




  7                                                                   VISIT NF LP L AYERB E NEF I TS . COM TO:
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UNDERSTANDING THE DISABILITY BENEFITS:




Total & Permanent
Disability
The Total & Permanent Disab ility ("T&P") benefit pays a monthly benefit to eligible Players who are
determined to be totally and permanent ly disabled.


Who is eligible to receive T&P benefits?
You are eligible to receive T&P benefits if you meet the medical standard and the administrative
requirements for the Plan's T&P benefits:


              The medical standard for T&P benefits

0             The medical standard for T&P benefits is that you must be totally and
              permanently disabled.



      What does it mean to be "totally disabled?"

      Totally disabled means that you are unable to work.

      For the purposes of T&P eligibility, you are unable to work if you are substantially
      prevented from or substantially unable to engage in any occupation or employment for
      remuneration or profit.

      • Your educational level and prior training are not considered when determining whether you
        are unable to work.

      • You may be unable to work even if you manage personal or family investments; are
        employed by a charitable organization, the NFL, or an NFL Club; are employed out of
        benevolence; or receive up to $30,000 in earned income.




      How does the $30,000 rule work? If you make less than $30,000/year (for example, by
      signing autographs), you can still qualify for T&P benefits if you meet all of the other criteria
      for the benefit.




QUESTIONS                                                                                                   8
Call the NFL Player Benefits Office 800 .638 . 3186

                                                       JO-00465
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   UNDERSTANDING THE DISABILITY BENEFITS: TOTA L & P ERMAN ENT D I SABILITY




        What does it mean to be "permanently disabled?"

        Permanently disabled means that your disabling impairment has persisted or is expected
        to persist for at least 12 months from the date of its occurrence, excluding any reasonably
        possible recovery period.




        How does the permanent rule work? If you are recovering from a recent surgery, for
        example, your application may be denied-or you may be asked to reapply later. Until you
        recover, it may be impossible to determine whether your impairment is "permanent."



   You will meet the medical standard for T&P benefits if both of the following occur:

   • At least one Neutral Physician finds that you are totally and permanently disabled. This
     decision is generally made after a Neutral Physician reviews your medical records and supporting
     documents and performs a medical exam.

   • The Committee or Board finds that you are totally and permanently disabled. This decision
     will be made by reviewing your application, any supporting documents that you provide, Neutral
     Physician report(s), and any records in your file.

   Special cases:
   Military service
   You are not considered to be totally and permanently disabled as a result of a disability suffered while in
   the military service of any country.

    11 Social Security disability
     When you apply for T&P benefits, tell the Plan if you have already been awarded Social Security
     disability benefits. Generally, you will be considered totally and permanently disabled if you are
     receiving Social Security disability benefits.

   • If you have a pending T&P application and receive an award of Social Security disability benefits while
     that application is pending, you can submit that award to the Plan and generally meet the medical
     standard that way.

     You will not qualify for T&P benefits if, after reviewing your application, four or more voting members
     of the Board determine that you are not totally and permanently disabled, despite receiving Social
     Security disability benefits.

                 Neutral Physician
                 A physician assigned by the Plan to examine you and report on your condition. Neutral Physicians are jointly
                 designated by the NFLMC and the NFLPA. They certify that their opinions will be provided without bias for or against
                 any Player. Because they receive a flat fee for their services, their compensation does not depend on whether their
                 opinions favor or disfavor an award of benefits.



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UNDERSTANDING THE DISABILITY BENEFITS: TO TAL & PERMANENT DISABILITY




      As of April 1, 2024, Players will no longer be able to qualify for T&P benefits based on an
      award of Social Security disability benefits.



 ffl Look out for this icon for more information about Social Security disability and T&P benefits.
              The adm inistrative requirements for T&P benefits
              Unless an exception applies, you must meet all of the following administrative requirements
              to become eligible for T&P benefits. You can learn more about each requirement by
              following the symbols (e.g., + ):



      Administrative requirements for T&P benefits

      • You are an Active Player, or a Vested Inactive Player with at least one Credited Season after
        1958

      • You are not receiving Pension Plan benefits or, if you are receiving Pension Plan benefits, (1)
        you started receiving Pension Plan benefits before you reached age 55, (2) you applied for
        and received Social Security disability benefits before you reached age 55, and (3) you are
        receiving Social Security disability benefits when you apply for T&P benefits. An award of
        Social Security disability benefits after you reach age 55 does not satisfy this requirement,
        even if it is retroactive to a date prior to you reaching age 55.

      • You are not receiving T&P benefits from the Pension Plan

      • You do not have another pending application for Disability Plan benefits +

      • You do not have a prior application for T&P benefits that was denied within the
        last 12 months ♦

      • If requested, you attend examinations with Plan neutral physicians arranged for you, and
        provide additional information required of you ❖

      • You are not a Pension Expansion Player under the Pension Plan

      • You must submit at least one medical record in support of your application
      + Learn more about this requirement en page 35
      ♦ Learn more about this requirement on page 45
      ◊ Learn more about this reau;ren1ent on page 38




                 Active Player
                 For the purposes of applying for T&P benefits, you are an Active Player until the July 3 1following or coincident with
                 the expiration or termination of your last contract to perform football-playing services with an NFL Club.




QUESTIONS                                                                                                                                 10
Call the NFL Player Benefits Office 800 .638 . 3186


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   UNDERSTANDING THE DISABILITY BENEFITS: TOTA L & P ERMAN ENT D I SABILITY




         Who is a Vested Inactive Player?


                               You are a Vested Inactive Player if you are not an Active
                               Player and you are vested in the Pension Plan.
                               The Pension Plan states that you are a Vested Inactive Player, if:


         I. You earn five Credited Seasons; or

         2. You earn four Credited Seasons, including a Credited Season after the 1973 Plan Year; or
         3. You earn three Credited Seasons, including a Credited Season after the 1992 Plan Year; or
         4. After the 1975 Plan Year, you are an Employee at age 55; or

         5. After receiving T&P benefits under the Pension Plan or Disability Plan, you are determined
             to no longer qualify for T&P benefits.

         There are other special vesting rules in the Pension Plan, but if you become vested based
         solely on those other special rules you are not eligible to receive T&P benefits under the
         Disability Plan. Pension Expansion Players are not Vested Inactive Players.



   If you have any questions about your eligibility, contact the NFL Player Benefits Office.


   How T&P monthly amounts are determined
   If you are awarded T&P benefits, your monthly payment amount depends on several factors:

        The category you qualify for

        Your Disability Credits (see page 14)

   • Other benefits you may be receiving, such as pension benefits under the Pension Plan, certain
        neurocognitive disability benefits, and disability benefits paid by another employer plan (see
        pages 15-17)




                    Employee
                    You are an employee if you are employed by an NFL Club as an Active Player, or if you are otherwise employed by an
                    NFL Club or an affiliate of an NFL Club immediately before or after employment as an Active Player. For a full definition,
                    see the Glossary starting on page 64.




   11                                                                                 VISIT NFLPLAYERBENEFITS . COM TO:
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UNDERSTANDING THE DISABILITY BENEFITS: TO TAL & PERMANENT DISABILITY




How T&P categories work
If you are determined to be eligible, you will be awarded T&P benefits in one of the following four
categories:

'
    CATEGORY               CRITERIA ❖


    Active                 • Your impairment(s) arises while you are an Active Player, and
    Football               • Your impairment(s) arises out of NFL-football activities, and
                           • Your impairment(s) causes you to be totally & permanently disabled, and
                           • Your application for T&P benefits is received within 18 months after you
                             cease to be an Act ive Player

    Active                 • Your impairment(s) arises while you are an Active Player, and
    Nonfootball            • Your impairment(s) does not arise out of NFL-football activities, and
                           • Your impairment(s) causes you to be totally & permanently disabled, and
                           • Your application for T&P benefits is received within 18 months after you
                             cease to be an Active Player

    Inactive A             • Your application that results in an award ofT&P benefits is received within
                             15 years of the end of your last Credited Season, but
                           • You don't qualify for the Active Football or Active Nonfootball categories

    Inactive B             • Your application results in an award of T&P benefits, but
                           • You don't qualify for any of the other categories




        How are "NFL-football activities" defined?

                         The disabling impairment must have resulted from one of the following:

                         • NFL games (pre-season, post-season and/or regular season)
                         • NFL-football activities supervised by an NFL Club, including all required or
                            direct ed activities




    ❖   f1' Social Security awards and T&P categorization:
, If you are awarded T&P benefits based on an award of Social Security disability benefits, your
    category of benefits will be based on the date that the Social Security Administration letter was
    issued to you notifying you that you are eligible for disability benefits. Do not delay in notifying the
    Disability Plan about your Social Security disability award as it may affect when your benefit will start
    and the category of benefits for which you qualify.


QUESTIONS                                                                                                      12
Call the NFL 0 iayer Benefits Offa~ 800 .638.3186

                                                     JO-00469
                                                                                                           NFL_ALFORD-0012110
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   UNDERSTANDING THE DISABILITY BENEF I TS : TO TA L & PERMAN ENT D I SAB ILITY




   • The Social Security Administration's findings regarding the timing and causation of your total and
     permanent disability will not be binding and will be given less weight than contemporaneous
       medical evidence. The Committee and Board will make their own determinations about the timing
       and cause of your impairments, and the proper category for your T&P benefits, based on your
       application, Neutral Physician reports, and other records available to them.


   Substance abuse and T&P categorization
   Generally, if your impairment was caused by the use of, addiction to, or dependence upon a controlled
   substance, alcohol, or illegal drugs, you can only qualify for benefits under the "Inactive B" category.

   A different category could be assigned if:

       The abuse arose from the continuous use of a controlled substance prescribed while you were an
       Active Player for the treatment of injuries or illnesses arising out of NFL-football activities,

   • Your application for T&P benefits is received no later than eight years after the end of your last
     Credited Season, and

   • You otherwise meet the criteria for a different category.

   See the Plan document or contact the NFL Player Benefits Office if you have questions about rules
   related to substance abuse.


   Psychological disorders and T&P categorization
   Generally, if your impairment is the result of psychological or psychiatric disorders and your application
   is approved, you will only qualify for benefits under the "Active Nonfootball," "Inactive A," or "Inactive B"
   categories.

   The "Active Football" category may be assigned if you otherwise meet the criteria for that category and
   one or more of the following are found to be true:

       The disabling disorder is caused by or relates to a head injury (or injuries) sustained in NFL-footba ll
       activities,

   • The disabling disorder is caused by or relates to the use of a substance prescribed for you by a
     licensed physician for an injury (or injuries) or illness arising out of NFL-football activities, or

       The disabling disorder is caused by an injury (or injuries) or illness that otherwise qualified you for the
       "Active Football" category.

   See the Plan document or contact the NFL Player Benefits Office if you have questions about rules
   related to psychological and psychiatric disorders.



                     Controlled Substance
                     This is defined by federal law, and includes some drugs that may have been lawfully prescribed by your doctor.

                     Illegal Drugs
                     This includes all drugs and substances taken in violation of federal, state or local law or NFL policy.




   n                                                                                    V I SI T N FL P LAYERB E NEFITS , COM T O :
                                                                      Learn abou1 lhe D1~~b1htv Pl,m I Accees< •      ~   atIon and resources


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UNDERSTANDING THE DISABILITY BENEFITS: TOTAL & PERMANENT DISABILITY




How T&P categories affect award amounts
Generally, if you are awarded T&P benefits, your monthly payment amount is t he greater of:

• Your Disability Credits and

• The minimum benefit for your category

Here are t he minimum monthly T&P payment amounts for each category.


                                                                                            MINIMUM MONTHLY PAYMENT
 CATEGORY                                       4 / 1/ 2020 - 3/ 31 / 2031                              EFFECTIVE 4 / 1/ 2031 ❖


 Active Football                                                     $22,084                                                 $4,000


 Active Nonfootball                                                  $13,750                                                 $4,000


 Inactive A                                                          $11,250                                                 $4,000


 Inactive B ♦                                                          $5,000                                                $3,334


❖ Unless the Plan is amended to provide otherwise, t hese are the minimum monthly payment amounts as of
  Apri l 1, 2031.
♦ Seepage 15 for information about Neurocognitive Supplement and Inactive BT&P payments.




      For information about T&P awards based on applications received before January 1,
      2015, refer to Appendix C (page 91).




                 Disability Credits
                 Your Disability Credits are equal to the sum of your Benefit Credits and 20 11 Legacy Credits (if you have Legacy
                 Credits) under the Pension Plan . Disability Credits do not include Special Credits or 2020 Legacy Credits. To learn
                 more about Benefit Credits, Legacy Credits, and Special Credits, or to find out what Credits you have earned under
                 the Pension Plan, visit nflplayerbenefits.com or contact the NFL Player Benefits Office.




QUESTIONS                                                                                                                               14
Call the NFL 0 1ayer Benefits Offa~ 800 .638 . 3186

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                                                                                                                                   NFL_ALFORD-0012112
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   UNDERSTANDING THE DISABILITY BENEFITS: TOTA L & P ERMAN ENT D I SABILITY




        How the Neurocognitive Supplement increases
        some T&P payments

        You will be eligible to receive an additional $1,667 per month for a limited
        amount of time if:
        1. You qualify for NC benefits under the moderate category within 15 years of the end of
           your last Credited Season, and then

        2. You qualify for Inactive B T&P benefits.

        If these conditions are met, you will receive the additional monthly payment from the month
        you are awarded Inactive B T&P benefits until the earliest of the following dates:

        • The month your T&P benefits cease,

        • The month after you turn 55, or

        • March 31, 2031 (unless the Plan is amended to provide otherwise).
        To learn more about NC benefits, go to page 27.



   How other benefits affect your monthly T&P payment amount
   T&P benefits, including the minimum amounts noted above, will be reduced by any disability benefits
   provided by an employer other than the NFL or an NFL Club, but will not be reduced by workers'
   compensation benefits.




        If you are receiving disability benefits from a source other than workers' compensation,
        you must inform the Disability Plan.




   15                                                                     VISIT NFLPLAYERB E NEFITS ,COM TO:
                                                          Learn about lhe D,~ability Pl,m I Access inforr 1t1on and resourtes

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                                                                                                            NFL_ALFORD-0012113
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UNDERSTANDING THE DISABILITY BENEFITS: TO TAL & PERMANENT DISABILITY




      SSDI Offset

      Beginning January 1, 2024, most Players who are receiving Inactive A T&P benefits are subject
      to a Social Security Disability Insurance ("SSDI") Offset. The only Players excluded from the
      SSDI Offset are those who are age 65 and older and those who are 88 Eligible Players under
      the 88 Plan. If the SSDI Offset applies to you, then your monthly Inactive A T&P benefits will
      be reduced by the monthly SSDI payment you received in the prior year, minus government
      insurance premiums.

      If the Plan is aware that you receive SSDI payments, but not the amount for the prior year,
      $3,000 will be withheld from your monthly benefit. Upon providing evidence of the actual
      SSDI payment, your benefits will be corrected.

      It is your responsibility to inform the Plan about your SSDI benefit payment amounts. If
      the Plan has not reduced your Inactive A benefit payments because you have failed to inform
      the Plan that you receive SSDI benefits, the Plan will, upon learning that you receive SSDI
      benefits, immediately suspend yourT&P benefit payments until you provide evidence of your
      payment amounts for all past periods and the Plan has recovered all past overpayments.



T&P benefit payment amounts can be reduced by pension benefits available from the Pension Plan.
Generally, the following rules apply.

• If you were paid an Early Payment Benefit (EPB) under the Pension Plan, your monthly T&P benefits
  will be reduced.

  If you were awarded T&P benefits before age 55, your T&P benefits will be reduced as of the first day
  of the month on or after you are age 55. The amount of the reduction will be equal to the monthly
  pension payment you could elect to receive at age 55 if paid in a Life Only Pension form. This
  reduction applies even if you defer t he receipt of your pension payments past age 55.

• If you were awarded T&P benefits after age 55, yourT&P benefits will generally be immediately
  reduced by the monthly pension payment you are eligible to receive, assuming that you elected to
  receive your entire benefit in a Life Only Pension from the beginning on the date your T&P benefits
  begin.

    » SPECIAL RULE -         If you were awarded T&P benefits after age 55, and you attained age 55 on or
       before August 1, 201 1, your T&P benefits will be reduced when you commence your Benefit Credit


                 Early Payment Benefit (EPBJ
                 Equal to 25%of the value of your Benefit Credit Pension (excluding Special Credits) at t he time the EPB is paid. Not all
                 Players are eligible to receive an EPB. See the Pension Plan Summary Plan Description to learn more abou t EPBs.




QUESTIONS                                                                                                                                16
Call the NFL Player Benefits Office 800 .638 . 3186


                                                                JO-00473
                                                                                                                                     NFL_ALFORD-0012114
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   UNDERSTANDING THE DISABILITY BENEF I TS : TOTA L & P ERMAN ENT D I SABILITY




            Pension and/or your Legacy Credit Pension. The amount of the reduction is equal to the monthly
            pension payment as if paid in a Life Only Pension form when it is started. This means that your
            monthly T&P benefit reduction w ill also include increases in your pension benefit due to the delay
            in starting your pension benefits.

   • If you w ere already receiving monthly pension payments when you are awarded T&P benefits, your
        T&P benefits will be reduced by your monthly pension payments as if you had elected a Life Only
        Pension form.

        If your T&P benefits were reduced as described above, and your Benefit Credit Pension or legacy
        Credit Pension is increased at a later date (e.g., increases as a result of the 2020 CBA), your T&P benefit
        will be similarly reduced by the increase in pension benefits.

   Your T&P benefit payments may also be reduced by qualified domestic relations orders, IRS levies,
   criminal garnishments, and other similar court orders.


   Things to consider if you are approved for T&P benefits

   Effective date
   In general, if your T&P application is approved, your effective date is the first day of the month that is
   two months prior to the date your completed application was received by the NFL Player Benefits Office.
   Your first payment will be retroactive to that effective date.




           For example1
           if you apply for T&P benefits in September 2022, and your application is approved, your
           effective date will be July 1, 2022. Your first payment will cover all months between the
           effective date and the first payment date.




              Effective date if you submit an award of Social Security disability benefits while you
              have a pending application
   If you submit an award of Social Security disability benefits to the Disability Plan while you have a
   pending application for T&P benefits, and the Committee or Board approves your application for T&P
   benefits on that basis, your effective date is the first day of the month that is two months prior to
   the date of the letter awarding Social Security disability benefits. ❖ The onset date of Social Security
   disability benefits and the date that such benefits become payable are irrelevant.




   17                                                                     V I SI T NF LP L AYE R BEN EF I TS . COM TO:
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                                                 JO-00474
                                                                                                            NFL_ALFORD-0012115
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UNDERSTANDING THE DISABILITY BENEFITS: TO TAL & P ERMAN ENT DISABILITY




        For example,
        if you

        • apply forT&P benefits in September 2021,

          are approved for Social Security disability benefits in December 2021, and

        • are awarded T&P benefits because of the Social Security award,

        your effective date will be October 1, 2021. Your first payment will cover all months between
        the effective date and the first payment date.



❖ Exception: If you do not submit your notice of award of Social Security disability benefits to the Plan

within six months from the date of the notice, your effective date will be the first day of the month that
is two months prior to the date that you submitted your award to the Plan.

Duration of payments
In general, if your application is approved, your T&P benefits will be paid monthly until (1) you
cease being totally and permanently disabled, (2) you die, or (3) the collective bargaining parties
modify, reduce, or terminate this benefit. While you receive the benefit, you are subject to the Plan's
continuation requirements, described below. The duration (and amount) ofT&P benefits may also be
impacted by the termination of the current CBA. See page 43 for more information .



.I        Benefits under this Disability Plan are not vested.



Requirements for continuation of T&P benefits
T&P payments will stop if you cease to be totally and permanently disabled. In general, this means
you must continue to satisfy the administrative standards and continue to:

• satisfy the medical standards if you were initially awarded T&P benefits by satisfying those standards;
  or

• receive Social Security disability benefits if you were awarded T&P benefits based on receipt of such
     benefits.




QUESTIONS                                                                                                 18
Call the NFL i>layer Benefits OffaE 800 .638 . 3186

                                                       JO-00475
                                                                                                        NFL_ALFORD-0012116
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   UNDERSTANDING THE DISABILITY BENEFITS: TOTAL & PERMANENT DISABILITY




   To help the Disability & Survivor Benefit Plan determine whether you continue to be totally and
   permanently disabled based on the medical standards, you must comply with the following rules:

   • Submit an executed IRS Form 4506 by November 1 of each year, allowing the Disability Plan to
     obtain a copy of your annual tax return directly from the IRS. If you have not filed your annual tax
     return by that date, you must instead (1) submit a signed statement that you do not intend to file a tax
     return, and state your total income from all sources for that year, or (2) submit an accounting of your
     total income from all sources for that year. You are exempt from these requirements if you are age 65
     or older by the November 1 deadline.

     Attend a medical examination with a Neutral Physician if asked to do so. Every five years,
     the Plan may refer you for examination with Neutral Physicians. Such examinations may occur
     more frequently, at the request of three or more voting members of the Board, but not more often
     t han every six months. Failure to attend these medical evaluations upon request could result in a
     suspension or termination of your T&P benefits. These medical examinations are subject to the rules
     on page 38.

   Your T&P benefits may be suspended if you fail to submit to a required physical examination or to
   submit an IRS Form 4506 (Request for Copy ofTax Return) and, if necessary, a signed statement or
   accounting. You should review the Plan document for specific rules and exceptions.

           If you receive Social Security disability benefits or Supplemental Security Income
           program benefits each year and submit proof of receipt of such benefits, the income
           disclosure and medical examination requirements may not apply.
   • You must report any revocation of Social Security Disability benefits or Supplemental Security Income
     program benefits to the Disability Plan as soon as those benefits are revoked.

     If you fail to do so, your T&P benefits may be terminated retroactive to the date of revocation and you
     may be liable for any overpayment.

   • If the cause of revocation is your receipt ofT&P benefits under the Disability Plan, your T&P benefits
     may continue if you meet the above rules relating to annual income disclosure and periodic physical
     examinations.

   • If four or more members of the Board determine, in their discretion, that you are not totally and
     permanently disabled, despite receiving Social Security disability benefits, your T&P benefits will be
     terminated.




        Effective April 1, 2024, receipt of Social Security Disability Insurance or Supplemental Security
        Income benefits will no longer establish that a Player qualifies for T&P benefits. Any Player
        seeking to establish that he continues to be eligible for T&P benefits after April 1, 2024 will
        be required to establish his eligibility based on medical examinations with Plan Neutral
        Physicians.




   19                                                                    VISIT NFLPLAYERBENEFITS , COM TO:
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                                             JO-00476
                                                                                                              NFL_ALFORD-0012117
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UNDERSTANDING THE DISABILITY BENEFITS: T OTAL & PERMAN ENT D I SABI LI TY




      Whether you are subject to the medical standards or the Social Security standard,
      inform the Plan immediately if you begin working.



If you fail to inform the Plan when you begin working, your T&P benefits may be terminated retroactive
to the date that you began work and you may be liable for any overpayment.

If your T&P benefits are suspended, the suspension will continue until such failure is resolved to the
satisfaction of the Board. If such failure is not resolved to the satisfaction of the Board within one
year after you are notified of the consequences of your failure, your T&P benefits will be terminated.
In that event, you must submit a new application to be eligible to receive any further T&P benefits. If
you submit such an application within the one year following termination, your T&P benefits may be
reinstated and the category under which your benefit is classified will be the same as before. If you
submit an application after that one-year period, your application will be subject to the Plan's effective
date and classification rules for new applications.

The Committee meets regularly to review eligibility for continuation of T&P benefits. If the Committee
cannot come to a decision on your continued eligibility, that "deadlock" will be treated as a deemed
denial of your continued eligibility to receive benefits. If you disagree with the Committee's decision,
you may appeal the decision to the Board.

See page 42 and page 57 for more information about what happens in case of a denial or deemed
denial of continued eligibility to receive benefits.


Reclassification
Requests for reclassification are not permitted. There is ONE exception to t his rule.

If you are awarded Active Nonfootball T&P benefits, you may seek reclassification into the Active
Football category if:

  Your reclassification request is submitted within 18 months of the date you cease to be an Active
  Player, and

  You can show, by clear and convincing evidence, that you meet t he criteria of the Active Football
  category due to either:

   1. a new impairment that did not exist during your original application for T&P benefits or

   2. an impairment that did exist, but has become totally and permanently disabling following your
      original award of Active Nonfootball T&P benefits.




QUESTIONS                                                                                                  2Q
Call the NFL 0 iaver Benefits Office 800 .638 . 31 8 6

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                                                                                                         NFL_ALFORD-0012118
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   UNDERSTANDING THE DISABILITY BENEFITS: TOTAL & PERMANENT DISABILITY




   If reclassification is granted, the award will be retroactive to two months prior to the date the written
   request for reclassification was received by the Disability Plan.

   If you are receiving T&P benefits under the Active Nonfootball category, and you think you may be
   eligible for reclassification, contact the NFL Player Benefits Office.




               Interested in applying for Total & Permanent Disability benefits?
                Go to page 34 to learn more about the application process.




   21                                                                   VISIT NFLPLAYERBENEFITS . COM TO:
                                                        Learn about the D,~ability Pldn I Access inforr 1t1on and resources

                                              JO-00478
                                                                                                          NFL_ALFORD-0012119
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UNDERSTANDING THE DISABILITY BENEFITS:




 Line-of-Duty                                                                             LoD
 Disability
The Line-of-Duty Disability ("LOO") benefit pays a mont hly benefit to eligible Players who are
determined to have sustained a substantial disablement as a result of NFL-football activities.


Who is eligible to receive LOO benefits?
You are eligible to receive LOO benefits if you meet the medical standard and the administrative
requirements for the Plan's LOO benefits:


              The medical standard for LOO benefits

0             The medical standard for LOO benefits is that you must have incurred a substantial,
              permanent disablement that arose out of NFL-football activities.



      What is a "substantial disablement?"

      For your impairment to be considered a substantial disablement, it must meet one of the
     following criteria:

      • You have orthopedic impairment s that add up to at least 9 points in the Point System for
        Orthopedic Impairments ("Point System") (If your application was received prior to April 1,
        2020, your orthopedic impairments must add up to at least 1O points instead)

         >>   Each impairment in the Point System ranks on a scale of 1 to 10 with 10 being the most
              severe. The complete Point System is included in this document (Appendix A, page 71).

         »    Surgeries, injuries, treatments, and medical procedures that occur after the application
              deadline (see page 24) will not receive points and will be disregarded by t he Committee
              and Board.

      • Your impairment results in a 50% or greater loss of speech or sight

      • Your impairment results in a 55% or greater loss of hearing

      • Your impairment is the primary or contributory cause of the surgical removal or major
        functional impairment of a vital bodily organ or part of t he central nervous system, except
        that neurocognitive impairments, brain-related neurological impairments, and psychiatric
        impairments will not be considered.




QUESTIONS                                                                                                 22
Call the NFL Player Benefits Office 800 .638 .3186

                                                      JO-00479
                                                                                                         NFL_ALFORD-0012120
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   UNDERSTANDING THE DISAB I LITY BENEF I TS : LINE - OF - DUTY D I SAB I LITY




        What is a "permanent" disablement?

        A disablement is permanent if it has persisted or is expected to persist for at least 12 months
        from the date of its occurrence, excluding any reasonably possible recovery period.




        How does the permanent rule work? If you are recovering from a recent surgery, for
        example, your application may be denied-or you may be asked to reapply later. Until you
        recover, it may be impossible to determine whether your impairment is "permanent."




        How are "NFL-football activities" defined?

                          The disabling impairment must have resulted from one of the following:

                           • NFL games (pre-season, post-season and/or regular season)

                           , NFL-football activities supervised by an NFL Club, including all required or
                              directed activities



   You will meet the medical standard for LOD benefits if bot h of the following occur:

   • At least one Neutral Physician finds that you have a substantial, permanent disablement
     that arose out of NFL-football activities. This decision is generally made after a Neutral Physician
     reviews your medical records and supporting documents and performs a medical exam.

   • The Committee or Board finds that you have a substantial, permanent disablement that
     arose out of NFL-football activities. This decision will be made by reviewing your application, any
     supporting documents that you provide, Neutral Physician report(s), and any records in your file.

   In some cases, the Committee or Board may award LOD benefits w ithout a Neutral Physician
   examination. This may occur only when the Committee or Board determines that your operative
   reports (or your Club medical records documenting surgical procedures) demonstrate that you have at
   least 9 points under the Point System.

                 Neutral Physician
                 A physician assigned by the Plan to examine you and report on your condition. Neutral Physicians are jointly
                 designated by the NFLMC and the NFLPA. They certify that their opinions will be provided without bias for or against
                 any Player. Because they receive a /lat fee for their services, their compensation does not depend on whether their
                 opinions favor or disfavor an award of benefits.




   23                                                                           V I S I T NFLPLAYERBENEFITS . COM TO:
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                                                                                                                     NFL_ALFORD-0012121
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UNDERSTANDING THE DISABILITY BENEFITS: LINE - OF-DUTY DISABILITY




              The adm inistrative requirements for LOO benefits
              Unless an exception applies, you must meet all of the following administrative requirements
              to be eligible for LOO benefits. You can learn more about each requirement by following the
              symbols (e.g., + ):


      Administrative requirements for LOO benefits

      • You are a former Player                                         • If requested, you attend examinations
                                                                           with Plan neutral physicians arranged for
      • You are not receiving Pension Plan benefits
                                                                          you, and provide additional information
      • You are not receiving LOO benefits from
                                                                           requested of you ◊
        the Pension Plan
                                                                        • You are not a Pension Expansion Player
      • You apply on time+                                                 in the Pension Plan
      • You do not have another pending
                                                                        • You must submit at least one medical
        application for Disability Plan benefits ♦
                                                                           record in support of your application
      • You do not have a prior application for
                                                                        • You did not previously receive LOO
        LOO benefits that was denied within the
                                                                           benefits for 90 months
        last 12 months◊

      + Seebe,ow                                                     ❖ learn more about this requirement on page 45
      ♦ learn more about rhls requ·rcment on page 35                 ◊ Learn more about this requirement on page 38




              What are the deadlines for applying for LOO benefits?
 •
I             Your deadline for applying for LOO benefits depends on your Credited Seasons.

                 If you have four or fewer Credited Seasons, your application must be received
                 within 48 months of the date you are no longer an Active Player.

              • If you have five or more Credited Seasons, your deadline is the number of years
                 after you are an Active Player that is equal to your number of Credited Seasons.

               for example, if you have six Credited Seasons, you have up to six years to apply
              after you are no longer an Active Player.




                 Pension Expansion Player
                 A Player w ho (a) was alive on March 15, 2020, {b) earned at least three (3) Credited Seasons, and (c) does not satisfy the
                 conditions to be a ·vested Inactive Player• under the Pension Plan.

                 Active Player
                 Generally, you are an Active Player if you are obligated to perform football playing services under a contract with an
                 NFL Club. For purposes of q ualifying for total and permanent d isability benefits only, you are also an Active Player up
                 until July 31 next following or coincident w ith the expiration or termination of such contract.



QUESTIONS                                                                                                                                 24
Call the NFL Player Benefits Office 800 .638 . 3186

                                                                 JO-00481
                                                                                                                                      NFL_ALFORD-0012122
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   UNDERSTANDING THE DISABILITY BENEF I TS : LIN E- OF - D U T Y DISAB I LITY




   How LOO award amounts are determined
   If you are awarded LOO benefits, your monthly payment is equal to the greater of:

   • The sum of your Disability Credits for your Credited Seasons, or

   , $4,000 (this amount was increased to $4,500 on January 1, 2021).

   Unless the Plan is amended to provide otherwise, effective April 1, 2031, monthly LOO payments for all
   Players will be reduced to the greater of:

   • The sum of your Benefit Credits for your Credited Seasons, or

   • $1,000.

   If you were eligible for and elected to receive an Early Payment Benefit (EPB) under the Pension Plan,
   and were then awarded LOO benefits, your monthly LOO benefits will be reduced. Contact the NFL
   Player Benefits Office to find out what your monthly benefit would be in this case.

   Things to consider if you are approved for LOO benefits
   Effect ive date
   If your LOO application is approved, your effective date is the first day of the month that is two months
   prior to the date your completed application was received by the NFL Player Benefits Office. Your first
   payment will be retroactive to that effective date.




        For example1
        if you apply for LOO benefits in September 2021, and your application is approved, your
        effective date will be July 1, 2021. Your first payment will cover all months between the
        effective date and the first payment date.




                 Disability Credits
                 Your Disability Credits are equal to the sum of your Benefit Credits and 2011 Legacy Credits {if you have Legacy
                 Credits). Disability Credits do not include Special Credits or 2020 Legacy Credits. To learn more about Benefit Credits,
                 Legacy Credits, and Special Credits, or to find out what Credits you have earned, visit ntlplayerbenefits.com or contact
                 the NFL Player Benefits Office.

                 Benefit Ct edits
                 Your Benefit Credits are the sum of the Benefit Credits you earned for each of your Credited Seasons under the
                 Pension Plan. Benefit Credits do not include Legacy Credits or Special Credits. See the Glossary for more information.

                 Early Payment Benefit (EPBJ
                 Equal to 25% of the value of your Benefit Credit Pension {excluding Special Credits) at the time the EPB is paid. Not all
                 Players are eligible to receive an EPB. See the Pension Plan Summary Plan Description to learn more about EPBs.



   25                                                                              V I S I T NFLPLAYERB E NEF I TS , COM T O :
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                                                    JO-00482
                                                                                                                          NFL_ALFO RD-00 12123
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UNDERSTANDING THE DISABILITY BENEFITS: LINE - OF - DUTY DISAB ILIT Y




Duration of payments
If you are determined to be eligible, your LOO benefits will be paid monthly as long as your disability
qualifies as a "substantial disablement," subject to the Plan's continuation requirements, described
below, but for no longer than 90 months. The duration (and amount) of LOO benefits may also be
impacted by the termination of the current CBA, Plan amendment, or Plan termination. See page 43 for
more information. Your payments will also cease if you apply for and receive retirement benefi ts under
the Pension Plan.




•        Benefits under this Disability Plan are not vested.
1


Continuation of LOO benefits
You may be subject to medical evaluations, but not more frequently than once every six months, to
confirm continued eligibility. Failure to attend these medical evaluations upon request could result in a
denial of your continued eligibility to receive LOO benefits. These medical examinations are subject to
t he rules at page 38.

The Committee considers eligibility for continuation of LOO benefits. If the Committee cannot come
to a decision on your continued eligibility, that "deadlock" will be treated as a deemed denial of your
continued eligibility to receive benefits. If you disagree with the Committee's decision, you may appeal
the decision to the Board.

See page 42 and page 57 for more information about what happens in case of a denial or deemed
denial of continued eligibility to receive benefits.




               Interested in applying for Line-of-Duty Disability benefits?
              Go to page 34 to learn more about the application process.




QUESTIONS                                                                                                 26
Call the NFL Player Benefits Office 800 .638 . 3186

                                                       JO-00483
                                                                                                       NFL_ALFORD-0012124
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   UNDERSTANDING THE DISABILITY BENEFITS:




       Neurocognitive                                                                                      C
       Disability
   The Neurocognitive Disability ("NC") benefit pays a monthly benefit to eligible Players who are
   determined to have a mild or moderate neurocognitive impairment.


   Who is eligible to receive NC benefits?
   You are eligible to receive NC benefits if you meet the medical standard and the administrative
   requirements for the Plan's NC benefits:


              The medical standard for NC benefits

   ®          The medica~ s.tan~ard ~or NC benefits is that you must have a mild or moderate
              neurocogn1t1ve 1mpa1rment.




   I


        What is a "mild" or "moderate" neurocognitive impairment?
   I




        The Plan uses very specific definitions for "mild" and "moderate" neurocognitive impairment
        and relies on neurologists and neuropsychologists to apply them in the cases of specific
        Players. Neuropsychologists measure a person's cognitive abilities- such the ability to think
        and respond to stimuli-using a battery of tests designed for that purpose.




   27                                                                VISIT NFLPLAYERBENEFITS . COM TO:
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                                           JO-00484
                                                                                                       NFL_ALFORD-0012125
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UNDERSTANDING THE DISABILITY BENEFITS: NEUROCOGNITIVE DISABILITY




      Mild neurocognitive impairment: The Plan defines a mild neurocognitive impairment as
      a mild objective impairment in one or more domains of neurocognitive functioning which
      reflect acquired brain dysfunction, but not severe enough to interfere with your ability to
      independently perform complex activities of daily living or to engage in any occupation for
      remuneration or profit.




      Moderate neurocognitive impairment: The Plan defines a moderate neurocognitive
      impairment as a mild-moderate objective impairment in two or more domains of
      neurocognitive functioning which reflect acquired brain dysfunction and which may require
      use of compensatory strategies and/or accommodations in order to independently perform
      complex activities of daily living or to engage in any occupation for remuneration or profit.



You will meet the medical standard for NC benefits if both of the following occur:

• At least one Neutral Physician finds that you have a mild or moderate neurocognitive
  impairment. This decision is generally made after a Neutral Physician reviews your medical
  records and supporting documents and performs a medical exam. You w ill also be referred for
  neuropsychological testing (see below).

  The Committee or Board finds that you have a mild or moderate neurocognitive impairment.
  This decision will be made by reviewing your application, any supporting documents that you
  provide, Neutral Physician report(s), and any records in your file.


Neuropsychological testing for NC benefits
If you are referred for examination by a Plan neutral neuropsychologist, you will undergo
neuropsychological testing, including two validity tests to determine whether your overall test results
are reliable and valid.

  If you fail both validity tests, you will not be eligible for the NC benefit.

• If you fail one validity test, you will be eligible for the NC benefit if the neuropsychologist provides a
  satisfactory explanation to the Committee or the Board for why you should receive the NC benefit
  despite the failed validity test.


Substance abuse, psychiatric conditions, and NC eligibility
You will not be eligible for NC benefits if your neurocognitive impairment was caused by substance
abuse or a psychiatric condition. If you have a substance abuse or psychiatric condition, you may be
eligible for neurocognitive benefits only if your neurocognitive impairment is not caused by your
substance abuse or a psychiatric condition.




QUESTIONS
Call the NFL 0 iaver Benefits Office 800 .638 . 3186

                                                        JO-00485
                                                                                                        NFL_ALFORD-0012126
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   UNDERSTANDING THE DISABILITY BENEFITS: NEUROCOGNITIVE DISABILI T Y




                 The administrative requirements for NC benefits
                 Unless an exception applies, and effective for applications received on and after April 1,
                 2021, you must meet all of the following administrative requirements to be eligible for NC
                 benefits. You can learn more about each requirement by following the symbols (e.g., + ):



        Administrative requirements for NC benefits

        • You are a former Player who is

            »    A Vested Inactive Player based on Credited Seasons alone, or

            » Not a Vested Inactive Player, and you apply w ithin 7 years of the date you are no longer
                 an Active Player.

        • You also

            »    apply on time, and

            » are under age 65, and

            »    sign the Release, Waiver, and Covenant Not to Sue, and ♦

            »    submit at least one medical record in support of your application, and +

            » attend any Neutral Physician examinations arranged for you, and provide any additional
                 information required of you. n

        • You are not

            >>   receiving retirement benefits from the Pension Plan, or

            » receiving Total & Permanent Disability (T&P) benefits from the Disability Plan or the
                 Pension Plan, or

            » a Pension Expansion Player, meaning a Player who (1) was alive on March 15, 2020, (2)
                 earned at least three Credited Seasons, and (3) does not satisfy the conditions to be a
                 Vested Inactive Player under the Pension Plan, or

            » a Player who

                  • previously received NC benefits which ceased because you reached age 55, or

                  • has another pending application for Disability Plan benefits, or ❖

                  • had a prior application for NC benefits denied within the last 12 months. ◊

        ♦   Learn more about this reQLlirement on page 30      ◊   Learn more about this requiremen t on page 34
        + Learn more about tr-is requirement on page 36        ◊   Learn more about this requirement on oage 44
        n .earn more about this requirement on page 37




   29                                                                        VISIT NFLPLAY ERBENEFITS ,COM TO:
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                                                                                                               NFL_ALFORD-0012127
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UNDERSTANDING THE DISABILITY BENEFITS: NEURO COGN ITIVE D ISAB I LIT Y




 •             What are the deadlines for applying for NC benefits?
I              All applications for NC benefits must be received in complete form before you reach
               age 65 and by March 31, 2031, unless this deadline is extended through collective
               bargaining. All monthly NC benefits cease in March 2031 unless the Disability Plan is
               amended by the NFLPA and the NFLMC to extend these benefits.

                   » If you are not a Vested Inactive Player, your application must be received
                       within 7 years of the date you are no longer an Active Player.




The "Release, Waiver, and Covenant Not to Sue"
To be eligible for NC benefits, you must sign a release, waiver, and covenant not to sue confirming that
you will not sue the League, any NFL Club, their employees, or affiliates in an action alleging head and/
or brain injury. This release, waiver, and covenant not to sue is voided if your application is permanently
denied or if you never receive NC benefits due to receipt ofT&P or LOO benefits under this Plan or the
Pension Plan.

This release, waiver, and covenant not to sue does not extend to insurance or other benefits available
under (1) any Collective Bargaining Agreement between the NFLMC and the NFLPA, (2) the Final Class
Action Settlement in In re: National Foot ball League Players' Concussion Injury Litigation, Civ. Action No.
2:12-md-02323-AB, MDL No. 2323, or (3) the workers' compensation laws. You can find the full text of the
release, waiver, and covenant not to sue in Appendix B of this document (page 89).


How NC award amounts are determined
If you are awarded NC benefits, your monthly payment depends on several factors:

• Whether you were found to have a mild or moderate neurocognitive impairment

  Your Disability Credits




                  Active Player
                  Generally, you are an Active Player if you are obligated to perform footba ll playing services under a contract with an
                  NFL Club. For purposes of qualifying for total and permanent d isabili ty benefits only, you are also an Active Player up
                  until July 31 next following or coincident with the expiration or term ination of such contract .

                  Disability Credits
                  Your Disability Credits are equal to the sum of your Benefit Credits and 2011 Legacy Credits (if you have Legacy
                  Credits). Disability Credits do not include Special Credits o r 2020 Legacy Credits. To learn more about Benefit Credits,
                  Legacy Credits. and Special Credits. or to find out what Credits you have earned. visit nflplayerbenefits.com or
                  contact the NFL Player Benefits Office.



QUESTIONS                                                                                                                                 30
Call the NFL i>layer Benefits Office 800 .6 38 . 3 186

                                                                 JO-00487
                                                                                                                                       NFL_ALFORD-0012128
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   UNDERSTANDING THE DISABILITY BENEFITS: NE U RO COG NI TIVE DI SAB I LI TY




   If you are awarded NC benefits due to a mild neurocognitive impairment
   Your monthly payment will be t he greater of:

        50% of your Disability Credits, or

   • The mild NC minimum for the month, as follows:


    April 1, 2020 through March 31, 2022                                                                   $3,000


    April 1, 2022 through March 31, 2024                                                                   $3,500


    April 1, 2024through March 31, 2026                                                                    $4,000


    April 1, 2026 through March 31, 2028                                                                   $4,500


    April 1, 2028 through March 31, 2031                                                                   $5,000


    After March 31, 2031                                                                                        $0



   If you are awarded NC benefits due to a moderate neurocognitive impairment
   Your monthly payment will be the greater of:

   • Your Disability Credits, or

   • The moderate NC minimum for the month, as follows:


    April 1, 2020 through March 31, 2022                                                                   $5,000


    April 1, 2022 through March 31, 2024                                                                   $5,500


    April 1, 2024through March 31, 2026                                                                    $6,000


    April 1, 2026through March 31, 2028                                                                    $6,500


    April 1, 2028 through March 31, 2031                                                                   $7,000


    After March 31 , 2031                                                                                       $0




   31                                                              VISIT NFLPLAYERB E NEFITS , COM TO:
                                                   Learn about the D,~ability Pldn I Access inforr 1t1on and resources

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                                                                                                     NFL_ALFORD-0012129
     Case 1:23-cv-00358-JRR                           Document 116-15                      Filed 11/19/24                 Page 34 of 97
UNDERSTANDING THE DISABILITY BENEFITS: NEUROCOGNITIVE DISABILITY




If you were eligible for and elected to receive an Early Payment Benefit (EPB) under the Pension Plan,
and were then awarded NC benefits, your monthly NC benefits will be reduced by 25% if you receive the
minimum benefit in the tables above. If your monthly payment is based on your Disability Credits instead,
contact the NFL Player Benefits Office to find out what your monthly benefit would be in this case.


Things to consider if you are approved for NC benefits
Effective date
If your NC application is approved, your effective date is the first day of the month that is two months
prior to the date your completed application was received by the NFL Player Benefits Office. Your first
payment will be retroactive to that effective date.



      For example,
       if you apply for NC benefits in September 2021, and your application is approved, your
      effective date will be July 1, 2021 . Your first payment will cover all months between the
      effective date and the first payment date.



Duration of payments
In general, if your application is approved, your NC benefits will be paid monthly for up to 180 months,
subject to the Plan's continuation requirements, described below. However, NC awards end before 180
months:

• When you no longer have a mild or moderate neurocognitive impairment,

• When you turn 65,

, When you receive your first Pension Plan payment,

    When you die, or

• After March 2031 (unless the Plan is amended to provide otherwise)

The duration (and amount) of NC benefits may also be impacted by the termination of the current CBA,
Plan amendment, or Plan termination. See page 43 for more information.



•
1        Benefits under this Disability Plan are not vested.



                 Early Payment Benefit (EPB)
                 Equal to 25% of the value of your Benefit Credit Pension (excluding Special Credits) at the time the EPB is p aid. Not all
                 Players are eligible to receive an EPB. See the Pension Plan Summary Plan Descripti on to learn more about EPBs.




QUESTIONS                                                                                                                                 32
Call the NFL i>layer Benefits OffaE 800 .638 . 3186


                                                                JO-00489
                                                                                                                                      NFL_ALFORD-0012130
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   UNDERSTANDING THE DISABILITY BENEFITS: NE U ROCOGNIT I VE D I SABILITY




   Continuation of NC benefits
   You may be asked to attend Neutral Physician evaluations to confirm continued eligibility, but not more
   often than once every two years. Failure to attend these medical evaluations upon request could result
   in a denial of your continued elig ibility to receive NC benefits. These medical examinations are subject
   to the rules at page 38.

   The Committee considers eligibility for continuation of NC benefits. If the Committee determines that
   you are no longer eligible for NC benefits, or deadlocks on whether you are still eligible for NC benefits,
   your continued eligibility for NC benefits will be denied. You can appeal the Committee's determination
   to the Board. See page 44 and page 57 for more information about what happens in case of a denial or
   deemed denial of continued eligibility to receive benefits.

   Reclassification
   You may request reclassification of your NC benefit from the "mild impairment" to "moderate
   impairment" category, but not more often than once every three years. However, if you sustain a new
   injury or illness that causes neurocognitive impairment, you may request reclassification at any time.




    •          88 Plan eligibility
   I           Players awarded NC benefits also may be eligible for up to $10,000 per year in
               reimbursements under the 88 Plan. The 88 Plan helps eligible former Players pay for
               expenses related to the treatment of Dementia, Amyotrophic Lateral Sclerosis
               (ALS), or Parkinson's Disease.


               You can learn more about the 88 Plan in its Summary P,an Description. l he 88 Plan Summary Plan
               Description is available at nnplayerbenefits.com or by request from the NrL Player Benefi ts Office.




               Interested in applying for Neurocognitive Disability benefits?
               Go to page 34 to learn more about the application process.




                 Dementia, Amyotrophic Lateral Sclerosis (ALS), and Parkinson's Disease
                 The 88 Plan has its own definitions for these terms. Refer to the Glossary (starting on page 64) for more about t he 88
                 Plan's definitions of these terms.




   33                                                                             VISIT NFLPLAYERBENEFITS . COM TO:
                                                                Learn about the D,~ability Pldn I Access inforr 1t1on and resources

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                                                                                                                        NFL_ALFORD-0012131
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Applying for
Disability Benefits
 •            Look out for this icon for tips and information around applying
I             for disability benefits and managing the award process.



Each disability application has been designed to be simple enough that you can complete it on your
own. If you have any questions or need help with your application, contact the NFL Player Benefits
Office.

   .
   I
          If you wish, NFL Player Benefits Office staff can fill out your application based on your direction
          and will send it to you for your review and signature.

You have the right to retain an attorney or advisor should you wish to do so for any reason. If you decide
you want to retain someone to help you, the NFL Player Benefits Office can provide you with the forms
you need to appoint an attorney or advisor as an authorized representative.

   .
   l
          Be aware that many attorneys demand a significant portion of your disability benefits just to file
          an initial application.

Whether you apply on your own or have assistance, the following pages describe the steps of
the application process.




QUESTIONS                                                                                                   34
Call the NFL Player Benefits Office 800 .638 . 3186

                                                       JO-00491
                                                                                                          NFL_ALFORD-0012132
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   APPLYING FOR DISABILITY BENEFITS· CHOOSE THE BENEFIT(S)


              LoD


                     NC
                              Choose the benefit(s)
                              you want to apply for


   You may apply for T&P benefits, LOO benefits, or NC benefits, or for a combination of these benefits.
   If you apply for multiple benefits, and are determined to be eligible for more than one, you will only
   receive the one with the highest monthly payment amount. You can learn more about this on page 41.

        .
        I
              You may apply for any combination of benefits in a single application, but you can only have
              one applicat ion considered at a time.

   Once your complete application for one or more benefits has been received by the NFL Player Benefits
   Office it will be considered "pending." You may not submit any additional applications while you have a
   pending application in process unless:

   • You withdraw the pending application before it has been presented to the Committee for a decision,
        or in the case of an appeal, before you have been examined by a Neutral Physician on appeal;

        All benefit claims on your pending application are denied and the time for appeal for each benefit
        claim has expired;

   • Your appeal for any and all pending claims is denied and is not subject to further administrative
        review; or

   • You submit a new application during the same calendar month as your earlier application. See the
        Plan document for details.

   You can learn more about administrative review and what to do in case of denial on page 42 and
   page 44.




   35                                                                  VISIT NF LPLAYE R BE NEF I TS .COM TO:
                                                       Learn about lhe D1~~b1htv Pl,m I Access inforr at1on lnd resources

                                              JO-00492
                                                                                                         NFL_ALFORD-0012133
       Case 1:23-cv-00358-JRR                     Document 116-15     Filed 11/19/24          Page 38 of 97
APPLYING FOR DISABILITY BENEFITS: COM PLETE THE APPLICATION (S)




                              Complete the application(s) and
                              provide supporting documents


You can apply for disabilit y benefits either on line at nflplayerbenefits.com or by submitting a paper
version of the application form(s) to the NFL Player Benefits Office. Applications can be downloaded
from nflplayerbenefits.com and printed. If you would prefer, t he NFL Player Benefits Office can send you
hard copies of the application form(s) by mail.

When completing your application(s), be sure to include information about any and all
impairments you have that you think support your claim for that particular disability benefit.
The Committee or Board will only consider impairments that you include on your initial application
unless a Neutral Physician who evaluates you recommends otherwise (see below).
   .
   l      Be sure to include ALL impairments you want considered on your initial application for benefits.


Supporting documents
You must submit at least one medical record in support of your application. It is strongly
recommended that you provide all available medical record s and other documents to support
your case. All medical records and other documents you wish to have considered as part of your
application must be received by the NFL Player Benefits Office for your application to be considered
complete.

   •      Do not include actual films (e.g., x-rays, MRls) with the supporting documents you send
   1      to the NFL Player Benefits Office. If you want any of these to be considered, you can bring
          them with you to your examination with the Neutral Physician (See page 37).




QUESTIONS                                                                                                  36
Call the NFL Player Benefits Office 800 .638 . 3186

                                                       JO-00493
                                                                                                          NFL_ALFORD-0012134
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   APPLYING FOR D I SABILITY BENEFITS· COMPLETE THE APPLICATION(S)




   Here are some examples of the kinds of documents that could be useful in supporting each type of
   benefit application:




                                   • NFL Club records or third-party medical records (including records
                                     from treating physicians) that document injuries, impairments,

   Total & Permanent                 treatments, and if applicable, why your impairment or injuries are
                                     related to NFL-football activities
    Disability
                                   • Operative reports

                                   • Reports from medical imaging

                                   • Documents that support exceptions for substance abuse or
                                     psychiatric problems (if applicable)

                                   • Prior to April 1, 2024, SSA disability award and supporting documents
                                     (if applicable)



                                   • Operative reports

                                   • NFL Club records that document injuries, impairments, treatments,
   Line-of-Duty                      and if applicable, why your impairment or injuries are related to NFL-
    Disability                       football activities. Third-party medical records that report surgical
                                     procedures will be useful if corroborating evidence is available to
                                     confirm the procedure and its relationship to NFL-football activities.

                                   • Reports from medical imaging



                                   • Treatment records relating to any psychiatric/psychological
        NC                           conditions you may have

    Neurocognitive                 • Transcripts from colleges or graduate schools attended
    Disability
                                   • Reports from baseline neuropsychological tests




         To obtain your NFL medical records, contact the Head Athletic Trainer of the most recent Club
         with which you had a contract




   37                                                                    V I SI T N FL PLAYERB E NEF I TS , COM TO:
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                                                                                                              NFL_ALFORD-0012135
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APPLYING FOR DISABILITY BENEFITS: ATTEND EXAMINATI O N(S)




          ~                   Attend a medical examination by one or
         o1                   more Neutral Physicians, if requested


If requested, you must attend a medical examination by one or more Neutral Physicians. At least
one Neutral Physician must find that you satisfy the medical standard for the benefit you applied for. ❖
The examination wi ll be paid for by the Disability Plan. If you have to travel to attend this examination,
your reasonable travel expenses will be covered by the Disability Plan.

           ❖ Exception: This generally does not apply if you were awarded T&P benefits based on receipt

          of Social Security disability benefits. But you may be referred to one or more Neutral Physicians
          at the discretion of the Board or Committee even if you are receiving Social Security disability
          benefits.

          If you are applying for LOO benefits, you will receive a "whole body" orthopedic examination
          by a Neutral Physician unless you request otherwise.

After confirmation of a complete application, the NFL Player Benefits Office may contact you with
an appointment date for your medical examination with a Neutral Physician. By submitting your
application, you are certifying that you will be able to attend such examination within 30 days from the
date the NFL Player Benefits Office receives your application.




 •            You must attend scheduled exams.
1             Pay close attention to these rules around scheduling and attending exams, and
              prepare accordingly.




If you need to reschedule, change, or cancel this appointment, you must contact the NFL Player Benefits
Office at least two business days in advance of your appointment. If you do not do so, you may
become ineligible for the benefit.



      For example,
      if your neutral exam is set for Thursday May 16, and you can't attend it that day, you must
      inform the NFL Player Benefits Office by S p.m. eastern time on Monday May 13. If Monday
      May 13 is a holiday, then your deadline to notify the NFL Player Benefits Office is 5 p.m.
      eastern time on Friday May 10.




QUESTIONS                                                                                                 38
Call the NFL Player Benefits Office 800 .638 . 3186

                                                       JO-00495
                                                                                                        NFL_ALFORD-0012136
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   APPLYING FOR D I SABILITY BENEFITS· ATTEND EXAMINATI O N( S)




   You can only reschedule, change, or cancel your appointment with each Neutral Physician once.
   You cannot reschedule your exam if you have already rescheduled your exam, even if you provide
   advance notice.

   Generally, your application for benefits will be denied if you refuse or fail to attend your
   scheduled (or rescheduled) appointment. The only exception to this rule is if you fail to attend your
   examination and the Committee or Board concludes that you did not attend due to circumstances
   beyond your control.

        .
        l
            Your attorney, representative, family members, and other third parties generally are not
            permitted to attend Plan neutral exams with you or contact Neutral Physicians. In addition, Plan
            neutral exams cannot be recorded in any way.

   Neutral Physicians provide important reports that help the Committee and Board with their decisions
   about benefit eligibility. Neutral Physicians have been instructed to treat each Player fairly, without bias
   for or against his application. The Disability Plan also has a full-time Medical Director, who is a physician,
   who provides advice about the Neutral Physicians and medical examination procedures.

   If you would like a Neutral Physician to review any of your medical records, your records must be
   submitted to the NFL Player Benefits Office at least 10 days before your scheduled examination.

        .
        l
            Don't submit any films (e.g., x-rays, MRls) to the NFL Player Benefits Office. Carry these with you
            to your appointment.

   You must identify all impairments that you wish to be considered on your application for disability
   benefits. Additional impairments that you identify later will not be considered. The only exception is
   where a Neutral Physician recommends that additional impairments be considered, and the Committee
   or Board concludes, in its discretion, that they should be considered.




   39                                                                  V I SI T NFL P LAYERB E NEF I TS , COM TO:
                                                       Learn abou1 lhe D1~~b1htv Pl,m I Accees< •   ~   atIon and resources

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                                                                                                           NFL_ALFORD-0012137
    Case 1:23-cv-00358-JRR                         Document 116-15     Filed 11/19/24        Page 42 of 97
APPLYING FOR DISABILITY BENEFITS. AWAIT DEC ISION




                              Await decision by the Committee


After your medical examination is complete, the Committee will consider your evaluation report along
with the rest of your application. The Committee will consider all of the elements of your application
for benefits at the earliest possible meeting. At that time, they will make a decision to approve or deny
benefits, or to seek further information. Most Players receive a decision within 45 days of confirmation
of their completed application, but sometimes it takes a little bit longer.

More information on the Disability Plan's procedures for processing applications can be found under
"Benefit claim and review procedures" on page 57.

If you want to know the status of your application at any time, contact the NFL Player Benefits Office.




QUESTIONS                                                                                                  40
Call the NFL i>layer Benefits OfficE 800 .638 . 3186

                                                        JO-00497
                                                                                                      NFL_ALFORD-0012138
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   What happens                                                                                       ✓           X


   next

                               If your application for Disability Benefits
               ✓
                               is approved



   You will receive an approval letter from the NFL Player Benefits Office with details about your disability
   award.

   Refer to the earlier sections detailing each benefit for information about the duration and amount of
   awards, submitting proof of continued eligibility, and attending medical examinations. The following
   applies to all of the disability benefits:


   One benefit at a time
   , You can only receive one disability benefit at a time.

         If you are awarded T&P and NC benefits, you will not receive NC benefits at the same time as you are
         receiving T&P benefits.

         If you are awarded LOD and NC benefits, you will receive the larger of the two benefits for the months
         in which both are payable. The overlapping months count towards both the 90-month maximum for
         LOD benefits and the 180-month maximum for NC benefits.


   How taxes affect Disability Plan payments
   Typically, the full amount of each payment is taxable as income for federal tax purposes in the year that
   you receive it. The tax rules that apply to disability payments are complex. You should talk with your
   personal tax advisor to understand exactly how your benefits will be taxed. The Disability Plan does not
   provide legal or tax advice.




   <11                                                                  VISIT N FL PL AYERB E NEF IT S. COM TO:
                                                        Learn about the Disability Pldn I Access inforr at1on lnd resources

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                                                                                                          NFL_ALFORD-0012139
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WHAT HAPPENS NEXT: IF APPROVED




Qualified Domestic Relations Orders (QDROs)
Your Disability Plan benefit could be reduced by a Qualified Domestic Relations Order, or "QDRO." NFL
Player Benefits Office staff can answer any questions you may have about how the QDRO affects your
benefits. NFL Player Benefits Office staff can also tell you whether you are subject to a QDRO.


Denials of continued benefits
All Disability Plan benefit awards are subject to periodic review, and - in some cases - the Committee or
Board may decide to deny continued benefits.

If you are receiving disability benefits and, upon reevaluation by a Neutral Physician, the Committee
deadlocks on the issue of whether you continue to be entitled to disability benefits, such deadlock will
be treated as a deemed denial of your continued eligibility to receive benefits, and you will be notified
of that deemed denial.

• If your appeal is received within 60 days from the date the notice of the deemed denial is mailed to
  you, your disability benefits will continue to be paid until and unless the Board determines on appeal
  that you are no longer entitled to the benefits.

  If your appeal is received within 61 to 180 days from the date the notice of the deemed denial is
  mailed to you, disability benefits will not be paid with respect to any month that begins more than
  60 days from the date of the deemed denial. If the Board rules in your favor, benefits will be paid
  retroactive to a date on or after the benefits ceased, as determined by the Board.

  If your appeal is not received within 180 days from the date the notice of the deemed denial was
  mailed to you, your disability benefits will be terminated and you must submit a new application to
  be considered for a new award.

If your disability benefits terminate, you will remain eligible to receive these benefits again if you
qualify under the terms of the Disability Plan in effect at the time of your subsequent application. The
classification and amount of your subsequent disability benefit will be determined without regard to
any previous period of disability.




                 QDRO
                 A judgment, decree, or order for a plan to pay benefits to your Spouse, former Spouse, child, or other dependent.




QUESTIONS                                                                                                                            l2
Call the NFL 0 iaver Benefits Office 800 .638 . 3186

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                                                                                                                                 NFL_ALFO RD-0012140
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   WHAT HAPPEN S NEXT· IF A PPROVED




   Overpayments and fraud
   The Disability Plan may recover overpayments of benefits through reduction or offsets to future
   benefits, or other method chosen by the Board.

   If you or a representative submit(s) false information and, as a result, you receive disability benefits from
   the Pension Plan or the Disability Plan to which you are not entitled, any further benefits payable to you
   or any beneficiary (including a dependent or alternate payee) from the Disability Plan will be reduced by
   the amount of the overpayment, plus interest at the rate of 6% per year.


   In case of your death
   The Disability Plan stops making monthly payments when you die. The last payment will be a full
   monthly payment for the month in which your death occurs.


   No vesting
   Disability benefits are not vested. They can be changed or terminated at any time by amendment or
   termination of the Plan.




                                                                       V I SI T NFLPLAYERB E NEF I TS , COM TO:
                                                       Learn about lhe D1~~b1htv Pl,m I Access inforr at1on lnd resources

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                                                                                                         NFL_ALFORD-0012141
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WHAT HAPPENS NEXT: IF DENIED




                              If your application for Disability Benefits
          X
                              is denied


If your initial application is denied in whole or in part for any reason, you have a right to appeal and
submit any materials you wish for consideration by the Board. The procedures for Disability appeals can
be found under "Benefit claim and review procedures" on page 57.

The ultimate decision on your application from the Board is called a final determination. A decision of
the Committee that is not appealed within the allowed time frame will also be a final determination.

          If you receive a final determination that you are not totally and permanently disabled, and you
          later submit another application for T&P benefits that is ultimately approved, you will NOT be
          totally and permanently disabled for all of the months leading up to the prior, final determination.




      For example,
      you apply for T&P benefits and the Board denies your application on August 15, 2021 because
      it determines that you are not totally and permanently disabled. If you submit a subsequent
      application for T&P benefits, it will be conclusively presumed that you were not totally and
      permanently disabled, for any reason, prior to August 15, 2021.




                     If your application for LOO or NC benefits is denied by the Committee for
            NC'
                     administrative reasons, you appeal, and the Board overrules the Committee's
                     administ rative determination, you can continue your appeal with the Board. You also
                     have the option to withdraw your application and start over with a new one.




               Why would you want to start over?
              This option gives you two chances to be approved, at the Committee level and
              Board level, instead of one, at the Board level only. If you choose this option, and are
              ultimately approved for LOO or NC benefits, the effect ive date will be based on the
               date of your original application. The Serial Application Rule, discussed below, will be
               waived.




QUESTIONS                                                                                                   44
Call the NFL Player Benefits Office 800 .638 . 3186

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                                                                                                           NFL_ALFORD-0012142
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   WHAT HAPPENS N EXT· IF DENI ED

   Serial applications
   If your application for disability benefits has been denied and is not subject to further administrative
   review, you will be deemed to not qualify for that benefit for 12 months after the tentative denia l in your
   case, if a tentative denial was made, and if not, 12 months after the final denial.

   • If your application for T&P benefits is denied, you will be deemed not to be totally and permanently
        disabled.

   • If your application for LOO benefits is denied, you will be deemed not to have a substantial
     disablement.

        If your application for NC benefits is denied, you will be deemed not to have a mild or moderate
        neurocognitive impairment.

   During this 12-month period, you will not be eligible for any disability benefit for which you were
   denied an award, unless an exception applies. This is referred to as the "Serial Application Rule."
   Please call the NFL Player Benefits Office if you have questions about how the Serial Application Rule
   applies to you.

   Exceptions to the Serial Application Rule
   This rule may be waived by the Committee or Board if you meet one of the exceptions below:

   1. You can show that your new application is based on an impairment caused by a new injury or
        condition after the date you submitted your initial claim for benefits:

        a. If your denied application was for T&P benefits, you would need to show that you became totally
          and permanently disabled because of a new injury or condition after the date of your initial claim.

        b. If your denied application was for LOO benefits, you would need to show that you incurred a
           substantial disablement because of a new injury or condition after the date of your initial claim.

        c. If your denied application was for NC benefits, you would need to show that you incurred a mild or
           moderate neurocognitive impairment because of a new injury or condition after the date of your
           initial claim.

   2. The Serial Application Rule will be waived, but not more than once in your lifetime for the benefit at
      issue, if your application is denied because you failed to attend a required examination.

   3. For T&P benefit applications, the Serial Application Rule does not apply to new applications that
        inform the Plan of a disability benefit awarded under the Social Security Disability Insurance or
     Supplemental Security Income programs.

   4. For T&P and LOO benefit applications, the Serial Application Rule will be waived if your initial
     application was denied because your disability was not "permanent" (within the meaning of the
        Disability Plan) due to a recent surgery or other medical procedure, and your new application is
        received after the expected recovery period has ended.

   5. For LOO and NC benefit applications, the Serial Application Rule is waived if your new application is
        received after you withdraw an earlier application that is denied by the Committee for administrative
        reasons, and the Board overrules the Committee's decision.

   6. For LOO benefit applications, the Serial Application Rule is waived if your initial application was
      denied because you were an Active Player and you reapply once you are no longer an Active Player.


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                                                        Learn abou1 lhe D1~~b1l•tv Pldn I Acc>eS< •   ~   ,tIon and re~ources

                                               JO-00502
                                                                                                             NFL_ALFORD-0012143
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Survivor benefits
At a glance
Who is eligible to receive survivor benefits?
Your surviving family members' eligibility for a survivor benefit will depend on whether you satisfy the
Disability Plan's requirements, which considers factors such as:




         • Your date of death

         • Whether you are a Vested Inactive Player based only on Credited Seasons (see page 70 for
            more information)

         • Whether you are eligible for total and permanent or line-of-duty disability benefits from
            the Disability Plan or the Pension Plan on the date of your death

         • The relationship between you and your beneficiary




You will find detailed information about eligibility for the survivor benefits here in this document.


Understanding the survivor benefits
If you die before you begin to receive pension payments under the Pension Plan, the Disability Plan may
provide a monthly benefit after your death to an eligible beneficiary (or class of beneficiaries). Once
you begin receiving pension payments, your beneficiaries will no longer be eligible for survivor benefits
under this Plan.

To receive benefits, your surviving beneficiaries (or their representative) must submit a survivor benefit
application. This application can be obtained from the NFL Player Benefits Office.




      The NFL Player Benefits Office is ready to help
      If you have any questions about the death benefit under the Disability Plan, contact the NFL
      Player Benefits Office. Call 800.638.3186




QUESTIONS                                                                                                  46
Call the NFL 0 iayer Benefits Offa~ 800 .638 . 31 8 6

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   SURVIVOR BENEFITS: AT A GLANCE




   Survivor Benefits when Players die on or after
   April 1, 2020
   Are my beneficiaries eligible for this survivor benefit?
   Your surviving beneficiary may be entitled to this survivor benefit if you die on or after April 1, 2020 and
   before your monthly Benefit Credit Pension payments begin, and if, at the time of your death:

        a. You are not a Pension Expansion Player; and

        b. You:

           • Are an Active Player, or

           • Are a Vested Inactive Player based only on Credited Seasons, or

           ,   You are receiving total and permanent or line of duty disability benefits under the Pension
               Plan or this Plan.




         You are a Vested Inactive Player based on Credited Seasons if you have:

         , 5 Credited Seasons, or

         • 4 Credited Seasons, at least one of which is after 1973, or

           3 Credited Seasons, at least one of which is after 1992.




   Who may receive this survivor benefit?
   Your surviving beneficiary is eligible to receive survivor benefits if you meet the eligibility requirements.
   The surviving beneficiary is the first class of the following relationships in which you have a surviving
   family member at the time of your death:

        a. Surviving Spouse, generally meaning your lawful spouse at the time of your death
        b. Surviving Minor Children, meaning:

           ,   Your children who are not yet age 19 (or 23 if in college) at the time of your death.

           ,   If the child has a mental or physical incapacity that started before age 19 (or 23 if in college),
               the benefit may continue after the child reaches those ages if: (1) the child is awarded Social
               Security Disability Insurance or Supplemental Security Income benefits due to that incapacity,
               or (2) the child is under a state law guardianship due to such incapacity.

           ,   A child with a mental or physical incapacity will cease to be a Surviving Minor Child upon
               the cessation of Social Security Disability Insurance benefits, Supplemental Security Income
               benefits, or state law guardianship.




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                                                         Learn about lhe D1~~b1htv Pl,m I Access inforr at1on lnd resources

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SURVIVOR BENEFITS: AT A GLANCE




    c. Surviving Adult Children
    d. Surviving Parents, meaning your natural parents, and excluding step-parents
    e. Surviving Siblings

Generally, this survivor benefit will be paid to only one of the classes above. The benefit will cease once
there are no remaining Beneficiaries in that class who are eligible to receive benefits. For example, once
all surviving Minor Children reach the age of 19, or 23 if in college (assuming there is no incapacitated
child), no further survivor benefit will be paid.

There is an exception for surviving Spouses and surviving Minor Children. Payments made to your
surviving Spouse w ill continue until your surviving Spouse dies or remarries, whichever happens
first. Then, upon your surviving Spouse's death or remarriage, payment of this survivor benefit will be
divided equally among your surviving Minor Children, if any, until they cease to qualify for benefits or
their death.

Any person who is convicted, pleads guilty, or pleads no contest in connection wit h a Player's death w ill
lose his or her right to a survivor benefit under this Plan.


What is the amount of the survivor benefit?
Subject to any applicable reductions noted below, the following table shows the monthly amount of
t his survivor benefit. This monthly amount may be further reduced in certain circumstances, such as
when a spouse remarries, a child ceases to be a Minor Child, or a Player's child is first identified after
payments start to other children.


                             For payments between April                              For payments between April
                             2020 through March 2025, the                            2025 and later months, the
                             monthly payment equals...                               monthly payment equals ...

 First 60 Months             Greater of:                                             Greater of:
 After Death
                             • 50% of Survivor Credits, or                           • 50% of Survivor Credits, or
                             • $13,000                                               • $15,000

 Thereafter                  Greater of:                                             Greater of:
                             • 50% of Survivor Credits, or                           • 50% of Survivor Credits, or
                             • $6,000                                                • $6,000




                 Survivor Credits
                 The sum of the Player's Benefit Credits and, if any, his Special Credits, 2011 Legacy Credits, and 2020 Legacy Credits for
                 his Credited Seasons under t he Pension Plan.




QUESTIONS                                                                                                                               48
Call the NFL i>layer Benefits Offa~ 800 .638 . 3186

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                                                                                                                                     NFL_ALFORD-0012146
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   SURVIVOR BENEFITS: AT A GLANCE




   This survivor benefit starts as of the first day of the month after death, and is payable as long as
   described below.



        Example 1
        • You earn 6 Credited Seasons for 2015 through 2020.

        • You die in April 2022 at age 32 with $4,686 in Survivor Credits (which equals the sum of
          your Benefit Credits and Special Credits).

        , You were not married at the time of your death, but have a surviving child, age 6. You do
          not have surviving siblings or surviving parents.

        , Your child will receive the following benefits:

           " $13,000 per month from May 2022 through March 2025;

           »    $15,000 per month from April 2025 through April 2027; and

            »   $6,000 per month from May 2027 until your child reaches age 19 (or age 23 ifin
                college). The benefit will not stop because of your child's age if your child is disabled,
                as described below.




        Example 2
        • You earn 6 Credited Seasons for 2015 through 2020.

        • You die in April 2022 at age 32 with $4,686 in Survivor Credits (which equals the sum of
          your Benefit Credits and Special Credits).

        • You are married at the time of your death (your spouse is the same age as you), but have no
          surviving children, siblings, or parents.

        • Your spouse will receive the following benefits:

            i   $13,000 per month from May 2022 through March 2025;

           ,, $15,000 per month from April 2025 through April 2027; and

           ,, $6,000 per month from May 2027 until you would have attained age 55.

        The month after you would have attained age 55, your surviving spouse will begin receiving
        $2,205 per month from the Pension Plan as a pre-retirement death benefit based on your
        Credited Seasons. At that time, your survivor benefit from this Plan will decrease to $3,795
        ($6,000 minus $2,205).

        The benefit from this Plan will stop when your surviving spouse remarries or dies.




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                                                        Learn about the Disability Pldn I Access inforr at1on lnd resources

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SURVIVOR BENEFITS: AT A GLANCE




What circumstances reduce the amount of the survivor benefit?
Where t he survivor benefit is paid to a surviving Spouse or the surviving Spouse disclaims the benefit
(as described below), the benefit will be reduced (not below zero) by the amount of the Spouse's Pre-
Retirement Death Benefit under the Pension Plan that is payable or would have been payable without
regard to any QDRO applicable to the Player's Survivor Credits.

If you received an Early Payment Benefit under the Pension Plan after March 31, 1982:

  the $13,000 monthly benefit is reduced to $10,750,

, the $6,000 monthly benefit is reduced to $4,900, and

  the $15,000 monthly benefit is reduced to $12,750.


How long will the survivor benefit be paid?
The period over which the survivor benefit will be paid depends on the class of beneficiary receiving
benefits:

    a. A surviving Spouse will receive the survivor benefit through the month that the surviving Spouse
        dies or remarries.

    b. In general, a Minor Child will receive the survivor benefit through the month that child no longer
        meets the definition of a Minor Child, or the Minor Child dies, if sooner. Normally, a Minor Child
        will cease to be a Minor Child at age 19, or 23 if in college. In cases where a Minor Child continues
        to be a Minor Child after age 19, or 23 if in college, due to mental or physical incapacity, the child
        will cease to be a Minor Child when Social Security Disability Insurance or Supplemental Security
        Income benefits cease, or the state law guardianship end.

         • In all cases, a surviving Minor Child will receive or share in the survivor benefit for at least sixty
             (60) months, provided such child remains alive. Any months for which benefits are paid to a
            surviving Spouse who later dies or remarries will be counted for purposes of this special rule
            as if the Minor Child had received the benefit for that month.

         • For example, if a Player dies leaving no surviving Spouse but two surviving children, then
            aged 12 and 18, the $13,000 monthly benefit ($15,000 monthly benefits beginning April 2025)
            will be divided equally between them for sixty (60) months, assuming both remain alive. After
            sixty (60) months, if the child originally age 18 does not satisfy at that time the definition of a
             Minor Child, the entire survivor benefit, now reduced to $6,000 per month, will be paid to the
            child originally aged 12, for as long as that child remains a Minor Child.

    c. An Adult Child will receive the survivor benefit for sixty (60) months, or through the month that
        the Adult Child dies, if sooner.

    d. A Parent will receive the survivor benefit for sixty (60) months, or through the month that the
        Parent dies, if sooner.

    e. A Sibling will receive the survivor benefit for sixty (60) months, or through the month that the
        Sibling dies, if sooner.



QUESTIONS                                                                                                      so
Call the NFL 0 iaver Benefits Office 800 .638 . 31 8 6

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   SURVIVOR BENEFITS: AT A GLANCE




   What if there is more than one member of a beneficiary class?
   If there are multiple members of a class of beneficiaries, the survivor benefit will be divided equally
   among such members for as long as each remains eligible for benefits.

   For example, if benefits are paid to the Player's Parents, the benefit will be divided between the Parents.
   If one Parent dies before the sixty (60) months of benefits are paid, the full survivor benefit will then be
   paid to the surviving Parent for the remainder of the sixty (60) months.

   If a beneficiary is determined to be eligible for the survivor benefit after such benefit has commenced
   to another beneficiary or beneficiaries (either in the same beneficiary class or in a beneficiary class that
   would not have been eligible for benefits if the new beneficiary had been identified earlier), the survivor
   benefit will be adjusted prospectively only and will not be adjusted for payments already made.


   Can a surviving Spouse waive survivor benefit s?
   A surviving Spouse may irrevocably waive this survivor benefit in favor of the Player's Minor Child or
   Minor Children. Such waiver must be made in writing and in accordance with procedures established
   by the Disability Board, and must be made before the survivor benefit begins to be paid to such Spouse.
   The surviving Spouse's subsequent remarriage will not affect payment of the survivor benefit to the
   surviving Minor Child or Minor Children, but the monthly amount paid in any month will be reduced
   (not below zero) by the amount of any Spouse's Pre-Retirement Death Benefit paid to that Spouse
   under the Pension Plan. The survivor benefit will not be paid to Adult Children, Parents, or Siblings in
   the event of a surviving Spouse's waiver.



   Supplemental Survivor Benefit when a Player died
   before April 1, 2020
   Which Beneficiaries are eligible to receive the supplemental survivor benefit?
   The surviving Spouse or surviving Minor Child of a Player who died before April 1, 2020 may receive
   supplemental survivor benefits under this Disability Plan if the Surviving Spouse's and Surviving
   Children's Benefit under the Pension Plan was payable as of April 1, 2020.

   If the benefit is payable to more than one surviving Minor Child, these supplemental survivor benefits
   will be divided equally among them.

   Supplemental survivor benefits will not be paid to Adult Children, Parents, or Siblings.


   What is the amount of the supplemental survivor benefit?
   Subject to any applicable reductions noted below, for surviving Spouses or surviving Minor Children
   who have received a Surviving Spouse's and Surviving Children's Benefit under the Pension Plan, and
   those payments were made to all Beneficiaries for fewer than 48 months in total as of April 1, 2020, the
   supplemental survivor benefit payable for months beginning on and after April 1, 2020 will be:



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SURVIVOR BENEFITS: AT A GLANCE




• $4,000 per month for months up to and including the 48th (forty-eighth) month after the Player's
  death;

  $8,600 per month for each month beginning with the 49th (forty-ninth) month after the Player's death
  and continuing through and including the 60th (sixtieth) month after the Player's death; and

  $1,600 per month for each month beginning with the 61st (sixty-first) month after the Player's death
  and for any month thereafter for which a Surviving Spouse's and Surviving Children's Benefit under
  the Pension Plan is payable.

In cases where the Surviving Spouse's and Surviving Children's Benefit under the Pension Plan has
been paid for at least 48 months as of April 1, 2020, the supplemental survivor benefit will be $1,600
per month for each month after April 1, 2020 for which the Surviving Spouse's and Surviving Children's
Benefit is payable.


What benefits reduce the amount of the supplemental survivor benefit?
There are three possible reductions to the above amounts. These apply in cases where (1) the Player
received an Early Payment Benefit under the Pension Plan after March 31, 1982, (2) 50% of the Player's
Survivor Credits exceeds the applicable minimum payment described above, and (3) the Surviving
Spouse's and Surviving Children's Benefit is paid under the Pension Plan.

1. Where the Player received an Early Payment Benefit after March 31, 1982, instead of the above
  amounts, the supplemental survivor benefit will be:

    » $4,000 per month for each month up to and including the 48th (forty-eighth) month after the
       Player's death;

   » $7,450 per month for each month beginning with the 49th (forty-ninth) month after the Player's
       death and continuing through and including the 60th (sixtieth) month after the Player's death; and

   » $1,600 per month for each month beginning with the 61st (sixty-first) month after the Player's
       death and for any month thereafter for which a Surviving Spouse's and Surviving Children's Benefit
       under the Pension Plan is payable.

2. For any month in which a Surviving Spouse's and Surviving Children's Benefit is increased under the
  Pension Plan because 50% of the Player's Survivor Credits exceeds the otherwise applicable minimum,
  the amount of such excess will reduce (but not below zero) the supplemental survivor benefit on a
  dollar-for-dollar basis.

3. To the extent a Surviving Spouse's and Surviving Children's Benefit described above is paid under the
  Pension Plan, such benefit reduces, on a dollar-for-dollar basis, this supplemental survivor benefit.


How long will the supplemental survivor benefit be paid?
This survivor benefit is paid monthly, starting as of the first day of the month after the Player's death.
The supplemental survivor benefit will stop at the same time as the Surviving Spouse's and Surviving
Children's Benefit under the Pension Plan ceases. No supplemental survivor benefit is payable for any
month in which a Surviving Spouse's and Surviving Children's Benefit is not payable.



QUESTIONS                                                                                                    52
Call the NFL 0 iaver Benefits Office 800 .638 . 3186

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   FORMS & RESOURCES




   Forms &
   resources
        If you want to                   Use this document                   Available from

        Apply for Total & Permanent      Total & Permanent                   nflplayerbeneftts.com or the
        Disability benefits              Disability Benefit                  NFL Player Benefits Office
                                         Application


        Apply for Line-of-Duty           Line-of-Duty Disability             nflplayerbenefits.com or the
        Disability benefits              Benefit Application                 NFL Player Benefits Office

        Apply for Neurocognitive         Neurocognitive Disability           nflplayerbeneftts.com or the
        Disability benefits              Benefit Application                 NFL Player Benefits Office

        Obtain your NFL Medical                                              Contact the head trainer of your
        Records                                                              last NFL Club


        Apply for Survivor Benefits      Survivor Benefit                    nflplayerbeneftts.com or the
                                         Application                         NFL Player Benefits Office


        Access the official rules of     NFL Player Disability &             nflplayerbenefits.com or the
        the Disability Plan              Survivor Benefit Plan               NFL Player Benefits Office
                                         document

        Read the Point System (used      Point System for                    Refer to Appendix A of this
        to determine Line-of-Duty        Orthopedic Impairments              document
        benefit eligibility)


        Read the Release, Waiver,        Release, Waiver, and                Refer to Appendix B of this
        and Covenant not to Sue          Covenant not to Sue                 document
        (required for Neurocognitive
        benefit applicants)

        Learn about the Plan's           Summary Annual Report               nflplayerbeneftts.com or the
        financial status                                                     NFL Player Benefits Office

        Know how your taxes will be                                          Speak directly with your tax
        affected                                                             adviser


        Know your options after a        Model QDR0 and QDR0                 NFL Player Benefits Office
        divorce                          Procedures


   53                                                                 VISIT NFLPLAYERBENEFITS ,COM TO:
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OTHER INFORMATION




Other                                                                                           ~
information
Administration and Type of Plan                             You can address correspondence to individual
                                                            Disability Board members, c/o the Disability
The Disability Plan is a multiemployer welfare
                                                            Plan at the address listed below. The day-to-day
benefit plan that provides disability benefits.
                                                            administration of the Disability Plan, on behalf
The Disability Plan is administered by the
                                                            of the Disability Board, occurs at the address of
Disability Board, which is a joint Board of
                                                            the Plan Administrator below:
Trustees. The Disability Board has six voting
members, three of whom are selected by the
                                                            Plan administrator and Trustee
NFLPA and three of whom are selected by
the NFLMC. The Commissioner of the NFL is a                 Disabilit y Board
nonvoting member and the chairman.                          NFL Player Disability & Survivor Benefit Plan
                                                            200 Saint Paul St., Ste. 2420
Disability Board                                            Baltimore, MD 21202


                                                            Agent for service of legal process
    Chairman
    Roger Goodell                                           The agent for service of legal process is the
                                                            Disability Board, the joint Board ofTrustees for
    Management Members
                                                            the Disability Plan. Service of legal process also
    Larry Ferazani
                                                            may be made on each individual member of the
    Jacob Frank
                                                            Disability Board.
    Belinda Lerner

    Player Members                                          Disability Initial Claims Committee
    Hoby Brenner
                                                            The Disability Initial Claims Committee has
    Sam Mccullum
                                                            three members. One is appointed by the
    Robert Smith
                                                            NFLMC and one is appointed by the NFLPA.
                                                            The third member of the Disability Initial Claims
                                                            Committee is the Plan's Medical Director. The
The Disability Board has absolute discretion and
                                                            Committee has the authority and discretion
authority to interpret the Disability Plan, review
                                                            to determine whether a Player is eligible for
claims for benefits, and decide how the Plan
                                                            Disability Plan benefits.
applies in different situations. Any matter on
which the Disability Board is deadlocked may be             The Medical Director may vote only when
referred to an arbitrator.                                  the other two members of the Committee




QUESTIONS                                                                                                      54
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   OTHER INFORMATION




   are deadlocked as to a Player's eligibility for             Plan year
   one of the Plan's three disability benefits. The
                                                               Records for the Disability Plan are maintained
   Medical Director will not vote in cases where the
                                                               on a Plan Year basis that begins on April 1 and
   members of the Committee are deadlocked as
                                                               ends on the following March 31. A Plan Year
   to the category ofT&P or NC disability benefits.
                                                               is identified by the calendar year in which it
   In such cases, the Player will be eligible for the
                                                               begins.
   lower category of benefits approved by one
   member of the Committee, and the higher
                                                               Plan amendment or termination
   category approved by the other member will
   be deemed denied. The Player may appeal such               The Disability Plan is maintained under

   deemed denial to the Disability Board.                      Collective Bargaining Agreements between
                                                              the NFLPA and the NFLMC. While there is a
   While the Committee may reconsider a previous               Collective Bargaining Agreement in effect, the
   decision it has made, it cannot reverse a decision          NFLPA and the NFLMC, when acting jointly,
   made by the Disability Board.                               may amend or terminate the Disability Plan. If
                                                              there is no Collective Bargaining Agreement
                                                               in effect, the Disability Board may amend the
   Custodian Bank
                                                               Disability Plan at any time, and may terminate
   The assets of the Disability Plan are held in an           the Disability Plan if no Collective Bargaining
   account by:                                                 Agreement is in effect for more than one year.

   BNY Mellon
                                                               Contributions
   One Mellon Center 19th Floor
   Pittsburgh, PA 15258                                        Contributions to the Disability Plan are made at
                                                               least quarterly to a trust fund by the member

   Union                                                       clubs of the NFL in amounts sufficient to pay
                                                               estimated benefits and expenses. Players do not
   NFL Players Association (NFLPA)
                                                               make contributions in support of the Disability
   1133 20th St NW
                                                               Plan.
   Washington DC 20036


   Representative of the employers                             Plan assets
                                                              The Disability Plan's assets are held in trust
   NFL Management Council (NFLMC)
                                                              with the Disability Board serving as the Trustee.
   345 Park Ave
                                                              The Trust is intended to constitute a voluntary
   New York NY 10154
                                                               employees' beneficiary association, or "VEBA,"
                                                              within the meaning of Section 501 (c)(9) of the
   Employer Identification Number
                                                               Internal Revenue Code. Assets will be used to
   (EIN) assigned to the Disability Board
                                                               pay benefits to Players and to pay the costs of
   #XX-XXXXXXX
                                                               administering the Disability Plan.

   Plan number                                                 Assignment of benefits
   501                                                         In general, your benefits belong to you, and you



   55                                                                    VISIT NFLPLAYERB E NEF I TS , COM TO:
                                                        Learn about lhe D1~~b1htv Pl,m I Access inforr at1on lnd resources

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                                                                                                          NFL_ALFORD-0012153
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cannot transfer, assign or pledge your benefits                         Board may, in its sole discretion, direct that your
under the Disability Plan. Exceptions include                           benefits be paid to your legal representative,
a QDRO, an IRS tax levy, and federal criminal                           relative or other individual for your benefit or
garnishments.                                                           otherwise direct that benefit payments be made
                                                                        on your behalf. In addition, the Disability Board
Change of address                                                       may, in its sole discretion, establish a trust to
                                                                        hold your benefits on your behalf and appoint a
Be sure to keep the NFL Player Benefits Office
                                                                        trustee for that trust. The Disability Plan will pay
informed of your current address. You can
                                                                        reasonable expenses of the trust and its trustee. A
update your address on nflplayerbenefits.com.
                                                                        determination of incapacity and an establishment
                                                                        of a trust by any of the NFL Player Plans will
Receipt of documents
                                                                        extend to this Disability Plan. More information
All correspondence, including forms, elections,
                                                                        regarding such trusts is available from the NFL
and other documents that must be submitted
                                                                        Player Benefits Office.
or filed with the Disability Plan, are deemed
received only if and when actually received
                                                                        Designating a representative
by the Disability Plan, and not when mailed or
                                                                        For all types of claims and administrative
otherwise sent.
                                                                        review of claim denials, you can designate
                                                                        a representative to act on your behalf by
Missing payees
                                                                        submitting a written authori zation to the NFL
If a benefit is payable to a Participant who cannot
                                                                        Player Benefits Office. You may not designate a
be found by the NFL Player Benefits Office, the
                                                                        representative who is a convicted felon. If you
entire benefit of, and amount payable to, that
                                                                        designate a representative to act on your behalf,
Participant will be forfeited at the end of that Plan
                                                                        unless you limit the scope of the representation
Year. If the Participant subsequently provides
                                                                        in writing (or the representation is otherwise
accurate contact information to the NFL Player                          terminated), the decisions and other notices
Benefits Office, the amount forfeited will be
                                                                        regarding your claim and/or administrative
reinstated, and all amounts then due will be paid                       review of a claim denia l will be sent to your
to such Participant.
                                                                        representative, and your representative will
                                                                        be allowed to review and obtain copies of
Incapacity                                                              your Disability Plan records and other relevant
If you are incapacitated so as to be unable to                          information.
manage your financial affairs, the Disability




                 NFL Player Plans
                 For purposes of thls Plan, NFL Player Plans includes the followfng: Bert Bell/Pete Rozelle NFL Player Retirement Plan
                 (Pension Plan), NFL Player Second Career Savings Plan (401(k) Savings Plan), NFL Player Capital Accumulation Plan,
                 NFL Player Annuity Prog ram, NFL Player Tax-Qualified Annuity Plan, 88 Plan, and Gene Upshaw NFL Player Health
                 Reimbursement Account Plan (HRA Plan).




QUESTIONS                                                                                                                                56
Call the NFL 0 Iaver Benefits Office 800.638.31 8 6


                                                               JO-00513
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   OTHER INFORMATION




   Failure to exhaust administrative                              by the remaining number of months that the
   remedies                                                       benefit is expected to be paid. This reduction will
                                                                  cease when those deemed advance payments
   If your claim for an eligibility determination or for
                                                                  are reduced to zero. The Disability Board may
   benefits is denied in whole or in part (including
                                                                  exercise discretion to apply any deemed advance
   a deemed denial) and you fail to request, in a
                                                                  payment to payments under this Plan more
   timely manner, review by the Disability Board
                                                                  quickly in the circumstances of particular cases.
   of the denial under the Disability Plan's review
   procedures described below, you will have failed
                                                                  Qualified Domestic Relations Orders
   to exhaust your administrative remedies. If you
                                                                  (QDROs)
   fail to exhaust your administrative remedies and
   later file a legal action in court on your denied              Qualified domestic relations orders received by
   benefit claim, the court may dismiss your claim.               the Pension Plan prior to January 1, 2015 that
                                                                  provide disability benefits to an alternate payee
   Uniform procedures                                             under the Pension Plan will be deemed to apply
                                                                  to disability benefits paid under this Plan on and
   Certain disability benefits transitioned from the
                                                                  after January 1, 2015, to the extent those benefits
   Pension Plan to this Plan in 2015.
                                                                  are now paid out of this Plan.
   Decisions of the Pension Plan will, where
   appropriate, be reviewed by this Plan as if                    Benefit claim and review procedures
   they were prior decisions of this Plan. Rules on               for Disability Benefits
   serial applications, reexaminations, tax returns,              This section describes the procedures for (1)
   continuation of benefits, reclassification, duration           initial claims for disability benefits and (2)
   of benefits, and similar provisions will be                    administrative review (also called administrative
   interpreted and administered as if this Plan and               appeals) of denials, or partial denials, of claims
   the Pension Plan were a single plan. Records of                for disability benefits. Initial claims, including
   this Plan may be shared with the Pension Plan, as              initial determinations on continuations, are
   appropriate for Pension Plan purposes. Materials               generally decided by the two members of the
   submitted to or obtained by the Pension Plan                   Disability Initial Claims Committee who are not
   relating to an application will become part of the             medical professionals. The member who is a
   administrative record of this Plan.                            medical professional will cast the deciding vote
                                                                  only if the other two members are deadlocked
   Deemed payments                                                over a medical aspect of your claim. If, however,
   Overpayments by the Pension Plan ofT&P                         the member who is a medical professional
   benefits or LOO benefits that are not collectible              determines that the medical evidence is either
   from disability benefits under the Pension Plan                inconclusive or insufficient, he or she will abstain
   because of the transition of such benefits to this             from voting and the resulting deadlock will be
   Plan will be deemed advance payments under                     treated as a deemed denial of your claim. You
   this Plan. The monthly benefit amounts otherwise               will be notified of this deemed denial, which you
   payable under this Plan will be reduced by the                 may then appeal to the Disability Board. See the
   amount of the deemed advance payment divided                   section on page 42 entitled "Denials of continued



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benefits," for a discussion as to what may happen            claim and the reasons such material or
if you are currently receiving disability benefits           information is necessary;
and, upon reevaluation, you receive a deemed               4. a description of the Plan's review procedures
denial as to whether you continue to be entitled             and the time limits applicable to such
to receive these benefits.                                   procedures, including a statement of the
                                                             claimant's right to bring a civil action under
The Disability Initial Claims Committee has                  ERISA section 502(a) following an adverse
absolute discretion and authority to interpret               determination on review;
the Disability Plan and to make factual
                                                           5. any internal rule, guideline, protocol, or
determinations when it makes disability benefit
                                                             other similar criterion relied on in making
determinations. The Disability Initial Claims
                                                             the determination (or state that such rules,
Committee ordinarily will reach a decision on a              guidelines, protocols, standards, or other
claim for disability benefits within 45 days after it        similar criteria do not exist); similar criteria do
is received, although in some cases the decision             not exist);
may be delayed for up to two additional 30-day
                                                           6. if the determination was based on a scientific
extension periods. You will be notified in writing
                                                             or clinical exclusion or limit, an explanation
if the decision time is extended beyond the                  of the scientific or clinical judgment for the
initial 45-day period or beyond the first 30-day             determination, applying the terms of the
extension period. If the extensions are necessary            Plan to your circumstances (or state that such
because the Disability Initial Claims Committee              explanation is available free of charge upon
needs additional information from you to decide              request);
your claim, you will be given at least 45 days to          7. a discussion of the decision, including an
provide the specified information, and any time              explanation of the basis for disagreeing with or
periods during which the Disability Initial Claims           not following the views expressed in (a) reports
Committee is waiting for you to provide the                  presented by you of medical professionals
additional informat ion do not count for purposes            treating you and vocational professionals
of computing the 30-day extension periods.                   who evaluated you, (b) reports of medical or
                                                             vocational experts whose advice was obtained
Ifthe Disability Initial Claims Committee makes a            on behalf of the Plan in connection with
disability benefit determination that is adverse to          your adverse benefit determination, without
you in whole or in part, you will receive a written          regard to whether the advice was relied
notice of decision in a culturally and linguistically        upon in making the benefit determination,
appropriate manner, as set forth in 29 CFR                   or (c) Social Security Administration disability
2560.503-1 (o), which will set forth:                        determinations presented by you to the Plan;
                                                             and
1. the specific reason(s) for the adverse
  determination;                                           8. a statement that you are entitled to receive,
                                                             upon request and free of charge, reasonable
2. reference to the specific Plan provisions on
                                                             access to, and copies of, all documents, records,
  which the adverse determination is based;
                                                             and other information relevant to the claim for
3. a description of additional material or                   benefits.
  information, if any, needed to perfect the




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   If the Disability Initial Claims Committee fails              In making its decision on review, the Disability
   to notify you of its decision regarding your                  Board will take into account all available
   claim for disability benefits within the time                 information, regardless of whether it was
   periods described above, you can elect to treat               available or presented to the Disability Initial
   that failure to respond as a deemed denial of                 Claims Committee, and will afford no deference
   your initial claim, which you may appeal to the               to the determination made by the Disability
   Disability Board.                                             Initial Claims Committee.

   If you receive an adverse disability benefit                  The Disability Board will not terminate or reduce
   determination that you want reviewed under                    your disability benefits in situations where you
   the Disability Plan's appeal procedures, you                  were awarded benefits by the Disability Initial
   must request administrative review (also called               Claims Committee and on administrative appeal
   administrative appeal) in writing to the Disability           from that decision, you seek from the Disability
   Board at the NFL Player Benefits Office within                Board a different category of disability benefits.
   180 days of receiving the notice of decision.
                                                                 Neutral, board-certified physicians serve as
   You also can request administrative review of a
                                                                 Medical Advisory Physicians to the Disability
   deemed denial.
                                                                 Board. These doctors evaluate the medical
   During the administrative review process,                     aspects of certain disability applications.
   upon request and free of charge, you can                      Medical Advisory Physicians will not be the same
   have reasonable access to (and copies of)                     physician (or subordinate physician) who was
   all documents, records, and other relevant                    consulted during the initial determination.
   information about your claim for disability
                                                                 Three or more members of the Disability Board
   benefits, and you also can submit issues and
                                                                 may require the Medical Advisory Physician to
   comments in writing to the Disability Board.
                                                                 make a final and binding determination with
   You will receive, free of charge, any new or                  respect to a medical decision as to whether
   additional evidence considered, relied upon, or               you qualify for disability benefits. Any such
   generated by or on behalf of the Plan on review,              designated physician will have full and absolute
   as soon as possible and sufficiently in advance               discretion, authority and power to decide such
   of the date on which the notice of adverse                    medical issues. In all other respects, including
   benefit determination on review is required                   the interpretation of the Disability Plan and the
   to be provided, so that you have a reasonable                 decision as to whether the claimant is entitled
   opportunity to respond prior to that date. You                to benefits, the Disability Board will retain its
   will also receive, free of charge, any new or                 full and absolute discretion. Upon request, the
   additional rationale for the denial of the claim              Disability Board will identify the medical experts
   that arises during the review, as soon as possible            whose advice was obtained in connection with
   and sufficiently in advance of the date on which              an adverse benefit determination, without
   the notice of adverse benefit determination on                regard to whether the advice was relied upon in
   review is required to be provided, so that you                making the benefit determination.
   have a reasonable opportunity to respond prior
                                                                 The Disability Board ordinarily will make a
   to that date.
                                                                 decision on your request for review at its next



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meeting, or at its second meeting following                     presented by you of medical professionals
receipt of your request for review if your request              treating you and vocational professionals
is received less than 30 days before the next                   who evaluated you, (b) reports of medical or
meeting. However, if special circumstances exist,               vocational experts whose advice was obtained
such as the need to obtain further clarifying                   on behalf of the Plan in connection with
                                                                your adverse benefit determination, without
information, the review may be delayed but will
                                                                regard to whether the advice was relied
be made by no later than the third Disability
                                                                upon in making the benefit determination,
Board meeting following receipt of your request
                                                                or (c) Social Security Administration disability
for review. The Disability Board will notify you in
                                                                determinations presented by you to the Plan.
writing of its decision on review. If the decision
on review is adverse to you in whole or in part,              You may request a written explanation of any
the written notice will:                                      alleged violation of these claims procedures.
                                                              Any such request should be submitted to the
1. state the specific reason(s) for the adverse
                                                              Plan in writing; it must state with specificity the
   determination;
                                                              alleged procedural violations at issue; and it
2. reference the specific Plan provision(s) on                must be received by the Plan no more than 30
   which the adverse determination is based;
                                                              days following your receipt of a decision on the
3. state that you are entitled to receive, upon               pending application or appeal, as applicable.
   request and free of charge, reasonable access              The Plan will provide an explanation w ithin 10
  to, and copies of, all documents, records, and              days of the request.
  other information relevant to the claim for
  benefits;
                                                              Benefit claim and review procedures
4. state that you have the right to bring an                  for survivor benefit claims and claims
  action under ERISA section 502(a) and identify              other than disability benefits
  the statute of limitations applicable to such
                                                              Your beneficiary may submit a claim for survivor
  action, including the calendar date on which
                                                              benefits or benefits other than disability
  the limitations period expires;
                                                              benefits under the Disability Plan by filing a
5. disclose any internal rule, guidelines,
                                                              written claim with the Disability Board. The
  or protocol relied on in making the
                                                              Disability Board ordinarily will reach a decision
  determination (or state that such rules,
                                                              on a benefit claim within 90 days after it is
  guidelines, protocols, standards, or
                                                              submitted, although in some cases the decision
  other similar criteria do not exist); if the
  determination was based on a scientific                     may take up to an additional 90 days. Your
  or clinical exclusion or limit, contain an                  beneficiary will be notified in writing if the
  explanation of the scientific or clinical                   decision time is extended beyond the initial 90-
  judgment for the determination, applying the                day period. If your claim is denied, in whole or
  terms of the Plan to your circumstances (or                 in part, you will be provided a written notice of
  state t hat such explanation is available free of           decision, stating:
  charge upon request); and
                                                                The specific reasons for the denial,
6. discuss the decision, including an explanat ion
  of the basis for disagreeing w ith or not                   • The specific Plan provisions on which the
  following the views expressed in (a) reports                  denial is based,



QUESTIONS                                                                                                        6Q
Call the NFL 0 iaver Benefits Office 800 .638 . 31 8 6

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        A description of additional information                   circumstances exist, such as the need to obtain
        necessary to perfect your claim and an                    further clarifying information, the review may
        explanation of why such additional material is            be delayed but will be made by no later than
        necessary, and                                            the third Disability Board meeting following
        An explanation of the Plan's appeal                       receipt of your request for review. The Disability
        procedures for seeking review of denied or                Board will notify you in writing of its decision
        partially-denied claims, including your right to          on review. If the decision on review is adverse to
        bring a civil action under ERISA if your claim            you in whole or in part, the written notice will
        is denied on review under the Plan's appeal               include:
        procedures.
                                                                  • The specific reasons for the decision,
   If the Disability Board fails to notify you of its             • References to the provisions of the Disability
   decision regarding your claim within the time                     Plan on which the adverse decision was based,
   periods described above, you can elect to treat                   A statement of your right, upon request and
   that failure to respond as a deemed denial of                     free of charge, to have access to and copies of
   your initial claim, which you may appeal to the                   all documents, records, and other information
   Disability Board.                                                 relevant to your claim, and

   If you receive a notice of a decision that is                  , A statement of your right to bring a civil action
   adverse to you in whole or in part on your claim                  under ERISA following an adverse decision on
   for benefits that you want reviewed under the                     review.
   Plan's appeal procedures, you must request
   administrative review (also called administrative              Limitation on actions
   appeal) in writing to the Disability Board at the              You may not commence a legal action in a
   NFL Player Benefits Office wit hin 60 days of                  court on a benefit claim denial or partial denial
   receiving the notice of a decision on your claim.              more than 42 months from the date of the final
   You also can request administrative review of a                decision on your claim.
   deemed denial of your claim.
                                                                  If you do file a legal action after th is limitation
   During the appeal process, upon request and                    period has expired, the court may dismiss your
   free of charge, you can have reasonable access                 claim.
   to (and copies of) all documents, records, and
   other information relevant to your claim for                   Your ERISA rights
   benefits, and you also can submit issues and                   You are entitled to certain rights and protections
   comments in writing to the Disability Board.                   under the Employee Retirement Income Security
                                                                  Act of 1974, as amended ("ERISA"). Among other
   The Disability Board ordinarily will make a
                                                                  protections, ERISA allows you to:
   decision w ith respect to your request for review
   at its next meeting, or at its second meeting                  Receive information about your plan
   following receipt of your request for review                   benefits
   if your request is received less than 30 days                     Examine without charge at the NFL Player
   before the next meeting. However, if special                      Benefits Office all official Disability Plan




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  documents, including the Collective                         obtaining a Disability Plan benefit or exercising
  Bargaining Agreement ("CBA"), and any                       your rights under ERISA.
  extensions thereto, a copy of the latest
  annual report (Form 5500 Series) filed by the               Enforce your rights
  Disability Board with the U.S. Department of                If a claim for a benefit from the Disability Plan
  Labor (and available at the Public Disclosure               is denied in whole or in part, you (for disability
  Room of the Employee Benefit s Securit y
                                                              benefit claims) or your beneficiary (for survivor
  Administration), and a copy of the updated
                                                              benefit claims) have the right to receive a
  Summary Plan Description. You can get copies
                                                              written explanation of the reason for the denial.
  of these Disability Plan documents if you
                                                              You have the right to have the Disability Board
  ask in writing. The NFL Player Benefits Office
                                                              review and reconsider your claim. And, under
  may charge you a reasonable fee for copies
  of these documents, except for the Summary                  ERISA, there are steps you can take to exercise
  Plan Description.                                           these rights. For instance, if you ask for copies of
                                                              the above materials from the NFL Player Benefits
  Receive a summary of the Disability Plan's
                                                              Office and do not receive them within 30 days,
  annual financial report. The Disability Board
                                                              you can file suit in a federal court. In such a
  is required by law to give you a copy of this
  Summary Annual Report every Plan Year.                      case, the court may require the Disability Board
                                                              to provide the material. In addition, the court
• Obtain by written request to the NFL Player
                                                              may impose a fine of up to $110 a day on the
  Benefits Office a complete list of employers
                                                              Disability Board, payable to you, unless you did
  and employee organizations sponsoring the
                                                              not get the materials because of some reason
  Disability Plan. The list also is available for
  examination at the NFL Player Benefits Office.              beyond the control of the Disability Board.
  In addition, you may obtain by written request
                                                              If you have a claim for benefits that is denied or
  to the NFL Player Benefits Office information
                                                              ignored i n whole or in part, you may file suit in a
  as to whether a particular employer or
  employee organization is a Disability Plan                  state or federal court. In addition, if you disagree

  sponsor and, if so, the sponsor's address.                  with the Disability Plan's decision or lack thereof
                                                              concerning the qualified status of a domestic
Prudent actions by Plan fiduciaries                           relations order, you may file a suit in federal
In addition to creating rights for plan                       court. If the Disability Plan fiduciaries misuse the
participants, ERISA imposes duties upon the                   Disability Plan's money, or you are discriminated
people who are responsible for the operation                  against for asserting your rights, you may seek
of the Disability Plan. The Disability Board                  assistance from the U.S. Department of Labor.
members and certain others with responsibility                You may file suit in a federal court. The court will
for managing or operating the Disability Plan,                decide who should pay court costs and legal
called "fiduciaries" of the Disability Plan, have             fees. If the court decides in your favor, it may
a duty to do their jobs prudently and in your                 order the person you have sued to pay these

interest and in the interest of all the other                 court costs and legal fees. If you lose, the court
Disability Plan participants. No one - neither                may order you to pay these court costs and
your employer, your union, nor any other person               legal fees if, for example, it finds your claim is
- may terminate your employment or in any way                 frivolous.
discriminate against you to prevent you from



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   Assistance with your questions                              Disclaimer
   If you have any questions about the Disability              This summary is intended to describe in general
   Plan, you should contact the Disability Board
                                                               terms the essential features of the Disability Plan.
   by writing or calling the NFL Player Benefits               Every effort has been made to make sure that the
   Office. If you have any questions about this                information contained in this summary is correct;
   summary or about your rights under ERISA, or                however, in the case of any discrepancy, the
   if you need assistance in obtaining documents
                                                               provisions of the actual Disability Plan and Trust
   from the Plan Administrator, you should contact             will govern.
   the nearest office of the Employee Benefits
   Security Administration, U.S. Department of
   Labor, listed in your telephone directory, or the
   Division ofTechnical Assistance and Inquiries,
   Employee Benefits Security Administration, U.S.
   Department of Labor, 200 Constitution Avenue,
   NW, Washington, DC 20210. You also can
   obtain certain publications about your rights
   and responsibil ities by calling the publications
   hotline of the Employee Benefits Security
   Administration.


   No PBGC insurance
   Benefits under the Disability Plan are not insured
   by the Pension Benefit Guaranty Corporation
   ("PBGC"). PBGC insurance protection is not
   available to welfare benefit plans such as this
   Disability Plan.




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Glossary

Active Player
Generally, you are an Active Player if you are obligated to perform football playing services under
a contract with an NFL Club. For purposes of qualifying for total and permanent disability benefits
only, you are also an Active Player up until July 31 next following or coincident with the expiration or
termination of such contract.


Adult Child
A Player's child who is no longer a Minor Child


Amyotrophic Lateral Sclerosis (ALS) - 88 Plan
The 88 Plan defines ALS, also known as Lou Gehrig's disease, as an adult-onset neuromuscular disease
characterized by progressive muscle wasting, weakness, and spasticity resulting from the degeneration
of cortical and spinal motor neurons. Some physicians are specially trained to make a d iagnosis of ALS.
To learn more about the 88 Plan, see the 88 Plan Summary Plan Description.


Benefit Credits
Your Benefit Credits are the sum of the Benefit Credits you earned for each of your Credited Seasons
under the Pension Plan, in accordance with the table below. Benefit Credits do not include Legacy
Credits or Special Credits. See the Pension Plan document for more information.


  CREDITED SEASON:                                                   BENEFIT CREDIT:

 Before 1982                                                         $250

  1982 through 1992                                                  $255

  1993 and 1994                                                      $265

  1995 and 1996                                                      $315

  1997                                                               $365

  1998 through 2011                                                  $470

  2012 through 2014                                                  $560

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       CREDITED SEASON:                                                      BENEFIT CREDIT:
   I


       2015 through 2017                                                     $660

       2018 and 2019                                                         $760

       2020 through 2030                                                     $836


   Club
   A member club of the NFL.


   Controlled substance
   Drugs and other sub stances that are considered controlled substances under the Controlled Substances
   Act (CSA). An updated and complete list of the schedules is published in Title 21 Code of Federal
   Regulations (C.F.R.) §§ 1308.11 through 1308.15. Controlled substances could include some drugs that
   may have been lawfully prescribed by the Player's doctor.


   Credited Season
   Credited Seasons are determined under the Pension Plan, and such determinations are binding on this
   Disability Plan.

   Generally, a Credited Season is an NFL season in which you are employed as an Active Player (including
   an injured Player who otherwise satisfies the definition of Active Player) on the date of three or more
   Games for your Club.

   As a Player, you also earn a Credited Season in a Plan Year in which any of the following occurs:

   • After April 1, 1970, you incur an injury during the Plan Year in the course and scope of your
        employment by a Club, and pursuant to an injury grievance settlement or an inj ury settlement waiver
       for that injury, you are paid by a Club th e equivalent of your salary for three or more Games for that
        Plan Year (or for a number of Games that, when added to your otherwise credited Games for that Plan
       Year, totals three or more).

   • After reporting to at least one official pre-season training camp or official practice session during a
        Plan Year, you

       a. die during that same Plan Year, or

       b. incur a disability during that same Plan Year that subsequently qualifies you for line-of-duty
          d isability benefits under the Pension Plan or the Disability Plan, or

       c. incur a disability during t hat same Plan Year that subsequently qualifies you for Active Football
          total and permanent disability benefits or Active Nonfootball total and permanent disability
          benefits under this Pension Plan or the Disability Plan.



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• If, during a Plan Year while under contract as an Active Player with a Club, you are absent from
  employment in the NFL due to service in the Armed Forces of the United States, and you return as
  an Active Player. Your return to the NFL must occur after you are eligible for discharge from military
  service w ithin 90 days (or any longer period prescribed by law) or the opening of your Club's official
  pre-season training camp, whichever is later.

• You served in the Armed Forces of the United States during a Plan Year in the table below (generally
  relating to World War II, the Korean War, and the Vietnam conflict) and, in the year before you entered
  the Armed Forces, you either played NFL foot ball or signed a contract or similar document w ith the
  intent of p laying NFL football, and you were alive on t he dates in the table below. Under this special
  rule, you can only earn the number of Credited Seasons you would need to become a Vested Player.


         For Plan Years:                                         You were alive on:

        April 1, 1941 through March 31, 1947                     June 6, 1994

        April 1, 1950 through March 31, 1955                     May 1, 1996

        April 1, 1960 through March 31, 1976                     January 13, 2000



• You were on the practice squad for at least eight Games in a single Plan Year, you are otherwise
  vested, and you otherwise earned a Credited Season for the 2001 Season or later. You can earn only
  one Credited Season under this special rule during your career.

For the 2020 and 2021 seasons only, there were additional ways to earn a Credited Season under the
Pension Plan due to the COVID-19 pandemic, which are explained in the Pension Plan Summary Plan
Description.

See the Pension Plan document for special rules. If you have any questions about your Credited Seasons,
contact the NFL Player Benefits Office at 800.638.3186.


Dementia - 88 Plan
According to the 88 Plan, Dementia is diagnosed when there are cognitive or behavioral
(neuropsychiatric) symptoms that meet certain criteria. To learn more about the 88 Plan, see the 88 Plan
Summary Plan Description


Disability Credits
Your Disability Credits are equal to the sum of your Benefit Credits and 2011 Legacy Credits (if you
have Legacy Credits) under the Pension Plan. Disability Credits do not include Special Credits or 2020
Legacy Credits. To learn more about Benefit Credits, Legacy Credits, or Special Credits, or to find out
the am ount of your Disability credits you have earned, visit nflplayerbenefits.com or contact the NFL
Player Benefits Office.




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   Early Payment Benefit (EPB)
   Equal to 25% of the value of the Player's Benefit Credit Pension (excluding Special Credits) at the
   time the EPB is paid. Not all Players are eligible to receive an EPB. See the Pension Plan Summary Plan
   Description to learn more about EPBs.


   Employee
   You are an Employee if you are employed by an NFL Club as an Active Player, or if you are otherwise
   employed by an NFL Club or an affiliate of an NFL Club (that is, an entity in a controlled group with,
   under common control with, or in an affiliated service group with, an NFL Club) and your employment
   immediately precedes or immediately follows, without interruption, employment as an Active Player.


   Game
   Any regular or post-season NFL game, not including the Pro Bowl.


   Illegal drugs
   This includes all drugs and substances taken in violation of federal, state or local law or NFL policy.


   Legacy Credits
   Your Legacy Credits are the sum of the 2011 Legacy Credits and 2020 Legacy Credits you earned for
   each of your Credited Seasons under the Pension Plan, if any, according to the table below. Legacy
   Credits do not include Benefit Credits or Special Credits.


    CREDITED SEASON                     2011 LEGACY CREDITS                 2020 LEGACY CREDITS


    Before 1975                         $124                                $176

    1975-1981                           $108                                $192

    1982-1992                           $108                                $187


   Minor Child
   A Player's child until the child reaches age 19 (or age 23 if in college), or continuously if the child has a
   mental or physical incapacity that started before age 19 (or age 23 if in college) and if, before reaching
   age 19 (or age 23 if in college) the child (1) is eligible for and receives disability benefits under either the
   Social Security Disability Insurance program or Supplemental Security Income program due to such
   incapacity, or (2) is under a state law guardianship due to such incapacity. Any benefits paid to a Minor
   Child solely because of Social Security benefits or a state law guardianship will cease upon revocation of
   a child's Social Security disability benefits or guardianship.




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Neutral Physician
A physician assigned by the Plan to examine you and report on your condition. Neutral Physicians
are jointly designated by the NFLMC and the NFLPA. They certify that their opinions will be provided
without bias for or against any Player. Because they receive a flat fee for their services, their
compensation does not depend on whether their opinions favor or disfavor an award of benefits.


NFL Player Plans
For purposes of this Plan, NFL Player Plans includes the following: Bert Bell/Pete Rozelle NFL Player
Retirement Plan (Pension Plan), NFL Player Second Career Savings Plan (401 (k) Savings Plan), NFL Player
Capital Accumulation Plan, NFL Player Annuity Program, NFL Player Tax-Qualified Annuity Plan, 88 Plan,
and Gene Upshaw NFL Player Health Reimbursement Account Plan (HRA Plan).


Parent
Either of the two biological parents of the Player. Step-parents are not eligible for death benefits.


Parkinson's Disease - 88 Plan
The 88 Plan defines Parkinson's Disease as a progressive neurodegenerative condition resulting from
the deficiency of the dopamine-containing cells of a section of the brain called the substantia nigra. A
diagnosis of Parkinson's Disease is primarily a clinical one based on history and examination. People
with this disease usually have symptoms such as slowness of movement, rigidity and rest tremor. To
learn more about the 88 Plan, see the 88 Plan Summary Plan Description.


Pension Expansion Player
A Player who (a) was alive on March 15, 2020, (b) earned at least three (3) Credited Seasons, and (c) does
not satisfy the conditions to be a "Vested Inactive Player" under the Pension Plan.


Plan Year
April 1 to the following March 31.


Player
You are a Player if you are or were employed under a contract by an NFL Club to play football in the
League.


QDRO
A judgment, decree or order for a plan to pay benefits to your Spouse, former Spouse, child or other
dependent.


Sibling
A Player's brother, sister, half-brother, or half-sister.


QUESTIONS                                                                                                  68
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   Special Credits
   "Special Credit" means the credit described as a Special Credit in Section 4.1(a) for the corresponding
   Credited Season.


    CREDITED SEASON                   BENEFIT CREDIT                       SPECIAL CREDIT

    Before 1982                       $250                                $300

    1982 through 1992                 $255                                 $295

    1993 through 1994                 $265                                $285

    1995 and 1996                     $315                                $235

    1997                              $365                                $185

    1998 through 2011                 $470                                $80

    2012 through 2014                 $560                                $56

    2015 through 2017                 $660                                $66

    2018 and 2019                     $760                                $76

    2020 through 2030                 $836                                $0


   Spouse
   A Player's lawful spouse provided that the Player and such person were legally married under the laws
   of any US or foreign jurisdiction. A Spouse also includes a former spouse to the extent provided under a
   QDRO.


   Survivor Credits
   The sum of the Player's Benefit Credits and, if any, his Special Credits, 2011 Legacy Credits, and 2020
   Legacy Credits for his Credited Seasons under the Pension Plan.


   Vested Player
   A Player who is eligible to receive Pension benefits. To learn more about vesting and the Pension Plan,
   refer to the Pension Plan Summary Plan Description.




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Vested Inactive Player
You are a Vested Inactive Player if you are not an Active Player but you are vested in the Pension Plan
and are not a Pension Expansion Player in the Pension Plan. The Pension Plan states that you are a
Vested Inactive Player if:

• You earn five Credited Seasons; or

• You earn four Credited Seasons, including a Credited Season after the 1973 Plan Year; or

• You earn three Credited Seasons, including a Credited Season after the 1992 Plan Year; or

• After the 1975 Plan Year, you are an Employee on your normal retirement date; or

• After receiving T&P benefits under the Pension Plan or Disability Plan, you are found to no longer
  qualify for T&P benefits.




QUESTIONS                                                                                                 70
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   Appendix A - Point System
   for Orthopedic Impairments

   This Point System for Orthopedic Impairments ("Point System") is used to determine whether a Player
   has a "substantial disablement" within the meaning of Plan Section 5.S(a)(4)(8). The Point System assigns
   points to each orthopedic impairment recognized under the Plan. A Player is awarded the indicated
   number of points for each occurrence of each listed orthopedic impairment, but only where the Player's
   orthopedic impairment arose out of League football activities, and the impairment has persisted or
   is expected to persist for at least 12 months from the date of its occurrence, excluding a reasonably
   possible recovery period.

   A Player is awarded points only if his orthopedic impairment is documented according to the following
   rules:

            A Player is awarded points for documented surgeries, injuries, and degenerative joint disease only if
            they are related to League football activities.

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                Cervical Spine                          Elbow                                   Knee

                Thoracic Spine                          Wrist                                   Ankle

                Lumbar Spine                            Hand                                    Foot

                Shoulder                                Hip




        . A Player is awarded points for a surgical procedure if the record includes an operative report for
            the qualifying procedure or if NFL Club records document the procedure. Surgical procedures
            reported through third party evaluations, such as independent medical examinations for workers'
            compensation, should not be used unless corroborating evidence is available to confirm the
            procedure and its relationship to League football activities.

            Points are awarded for symptomatic soft tissue injuries where the injury is documented and there
            are appropriate, consistent clinical findings that are symptomatic on the day of exam. For example,
            AC joint injuries must be documented in medical records and be symptomatic on examination, with
            appropriate physical findings, to award points.


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   If an injury or surgery is not listed in the Point System, no points should be awarded.

5' Medical records, medical history, and the physical examination must correlate before points
    can be awarded.

   If a lateral clavicle resection is given points, additional points cannot be awarded if the AC joint is still
    symptomatic, such as with AC joint inflammation or shoulder instability.

   Moderate or greater degenerative changes must be seen on x-ray to award points (i.e., MRI findings
    do not count).

   Players must have moderate or greater loss of function that significantly impacts activities of daily
    living, or ADLs, to get points.

   Cervical and lumbosacral spine injuries must have a documented relationship to League football
    activities, with appropriate x-ray findings, MRI findings, and/or EMG findings to be rated.

  , In cases where an injury is treated surgically, points are awarded for the surgical treatment/repair
    only, and not the injury preceding the surgical treatment/repair. For example, a Player may receive
    points for "S/P Pectoralis Major Tendon Repair," and if so he will not receive additional points for the
    "Pectoralis Major Tendon Tear" that led to the surgery.

    As indicated in the Point System Impairment Tables, some injuries must be symptomatic on
    examination to merit an award of points under the Point System.

    To award points for a subsequent procedure on the same joint/body part, the Player must recover
    from the first procedure and a new injury must occur to warrant the subsequent procedure.
    Otherwise, a revise/redo of a failed procedure would be the appropriate impairment rating.

1- Hardware removal is not considered a revise/redo of a failed surgery, and points are not awarded for
    hardware removal.

    Multiple impairment ratings may be given related to a procedure on the same date, i.e., partial
    lateral meniscectomy and microfracture or chondral resurfacing.

1r When an ankle ORIF with soft tissue occurs, there should be no additional points for syndesmosis
    repair or deltoid ligament repair.




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   APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




   Point System Impairment Tables


         CERVICAL SPINE
             ..

        Documented Herniated Cervical Nucleus Pulposus With
                                                                                        5
        Radiculopathy (Does Not Include Disc Bulges Or Disc Protrusions)


        Documented Cervical Radiculopathy With EMG And MRI,
                                                                                        5
        Supported By Findings Observed During Clinical Examination



        Symptomatic Cervical Spondylolisthesis Grade I Or II                            5



        Symptomatic Cervical Spondylolisthesis Grade Ill Or IV                          7


        Cervical Compression Fracture With Greater Than 50%
                                                                                        8
        Compression Without Neurological Symptoms


        Cervical Compression Fracture With Greater Than 50%
                                                                                        10
        Compression With Neurological Symptoms



        Cervical Stress Fracture With Spondylolysis                                     3



        S/P Cervical Disc Excisions                                                     3



        S/P Cervical Fusion - Single Level                                              5


                                                                                        2 levels = 6 points,
        S/P Cervical Fusion - Multiple Levels (add one point for each
        additional level of cervical fusion)
                                                                                        3 levels = 7 points, etc.

        Each surgical procedure to revise or redo a failed Cervical Spine
        Surgery (i.e., procedure that did not achieve intended results)


        Symptomatic Documented Acute Unstable Cervical Spine
                                                                                        3
        Fracture Treated Non-Surgically




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APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




      THORACIC SPINE
                                                                                      Point·Value.
                                                                                      -            ~




     Documented Herniated Thoracic Nucleus Pulposus With
                                                                                  5
     Radiculopathy (Does Not Include Disc Bulges Or Disc Protrusions)


     Thoracic Compression Fracture With Greater Than 50%
                                                                                  5
     Compression



     S/P Thoracic Disc Excisions                                                  3



     S/P Thoracic Fusion - Single Level                                           5



                                                                                  2 levels = 6 points,
     S/P Thoracic Fusion - Multiple Levels (add one point for each
                                                                                  3 levels = 7 points,
     additional level of thoracic fusion)
                                                                                  etc.


     Each surgical procedure to revise or redo a failed Thoracic Spine
     Surgery (i.e., procedure that did not achieve intended results)

     Symptomatic Documented Acute Unstable Thoracic Spine Fracture
                                                                                  3
     Treated Non-Surgically




       LUMBAR SPINE



     Documented Herniated Lumbar Nucleus Pulposus With
                                                                                  5
     Radiculopathy (Does Not Include Disc Bulges Or Disc Protrusions)


     Documented Lumbar Radiculopathy With EMG And MRI, Supported
                                                                                  5
     By Findings Observed During Clinical Examination


     Symptomatic Lum bar Spondylolisthesis Grade I Or II                          5



     Symptomatic Lumb ar Spondylolisthesis Grade Ill Or IV                        7




QUESTIONS                                                                                                 74
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   APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




        Lumbar Compression Fracture With Greater Than 50% Compression
                                                                                             8
        Without Neurological Symptoms


        Lumbar Compression Fracture With Greater Than 50% Compression
                                                                                             10
        With Neurological Symptoms


        Lumbar Stress Fracture With Spondylolysis                                            3



        S/P Lumbar Disc Excisions                                                            3



        S/P Lumbar Fusion - Single Level                                                     s

                                                                                             2 levels = 6 points,
        S/P Lumbar Fusion - Multiple Levels (add one point for each
                                                                                             3 levels = 7 points,
        additional level of lumbar fusion)
                                                                                             etc.


        Each surgical procedure to revise or redo a failed Lumbar Spine
        Surgery (i.e., procedure that did not achieve intended results)


        Symptomatic Documented Acute Unstable Lumbar Spine Fracture
                                                                                             3
        Treated Non-Surgically




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        S/P Subacromial Decompression



        S/P Lateral Clavicle Resection                                                       2



        S/P Pectoralis Major Tendon Repair                                                   2



        S/P Longhead Biceps Tenodesis Or Tenotomy                                            2




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     S/P Arthroscopic Stabilization Procedure with or without SLAP
                                                                                    3
     Repair


     S/P Rotator Cuff Repair With Or Without Subacromial
                                                                                    3
     Decompression


     S/P Total Shoulder Arthroplasty                                                5


     Each surgical procedure to revise or redo a failed Shoulder Surgery
     (i.e., procedure that did not achieve intended results)


     Symptomatic Acromioclavicular Joint Inflammation                               2




     Longhead Biceps Tendon Tear



     Suprascapular Nerve Injury



     Symptomatic Rotator Cuff Tendon Tear                                           2



     Symptomatic Shoulder Instability                                               3



     Pectoralis Major Tendon Tear                                                   2


     Glenohumeral Joint Degenerative Joint Disease - Moderate Or
     Greater (i.e., significant loss of joint space as confirmed by clinical        3
     examination and x-ray)


     Loss Of Functional Range Of Motion - Moderate Or Greater (i.e., loss
     of motion that significantly impairs the Player's ability to perform
                                                                                    2
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))



     S/P ORIF Humerus Fracture                                                      2




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   APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




      S/P Axillary Nerve Release



      S/P Open Stabilization Procedure                                                    4



      S/P ORIF - Clavicle                                                                 2




      S/P ORIF - Scapula                                                                  2



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      S/P Distal Biceps Tendon Repair                                                     3



      S/P Radial Head Excision                                                            3



      S/P Ulnar Collateral Ligament Repair/ Reconstruction                                3



      S/P Radial Collateral Ligament Repair/Reconstruction                                3


      S/P Arthroscopy - Excision Of Bone Spurs, Removal Of Loose Bodies,
                                                                                          3
      Or Chondroplasty


      S/P Total Elbow Arthroplasty                                                        3



      S/P Distal Triceps Tendon Repair                                                    3



      S/P Repair Of Medial And Lateral Epicondylitis




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APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




     Each surgical procedure to revise or redo a failed Elbow Surgery
     (i.e., procedure that did not achieve intended results)


     Symptomatic Complete Ulnar Or Radial Collateral Ligament Tear               3



     Triceps Tendon Tear                                                         3



     Distal Biceps Tendon Tear                                                   3


     Peripheral Nerve Injury - Moderate Or Greater (i.e., nerve injury that
     significantly impairs the Player's ability to perform normal activities
     of daily living (bathing, grooming, dressing, driving, etc.))


     Degenerative Joint Disease - Moderate Or Greater (i.e., significant
                                                                                 3
     loss of joint space as confirmed by clinical examination and x-ray)



     Loss Of Functional Range Of Motion - Moderate Or Greater (i.e., loss
     of motion that significantly impairs the Player's ability to perform
                                                                                 2
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))



     S/P ORIF Radius And/Or Ulna Fracture                                        2



     5/P Posterior lnterosseus Nerve Release



     5/P Ulnar Nerve Release Or Transposition




     S/P Radial Nerve Release




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       WRIST




      S/P ORIF - Scaphoid                                                                    2



      S/P ORIF - Distal Radius                                                               2



      S/P Scapholunate Ligament Repair                                                       2



      S/P Flexor Tendon Repair                                                               2



      S/P Extensor Tendon Repair                                                             2



      S/P Total Wrist Arthroplasty Or Fusion                                                 3


      Each surgical procedure to revise or redo a failed Wrist Surgery (i.e.,
      procedure that did not achieve intended results)


      Wrist Instability On Clinical Examination - Moderate Or Greater (i.e.,
      instability that significantly impairs the Player's ability to perform
                                                                                             2
      normal activities of daily living (bathing, grooming, dressing,
      driving, etc.))


      Loss Of Functional Range Of Motion - Moderate Or Greater (i.e., loss
      of motion that significantly impairs the Player's ability to perform
                                                                                             2
      normal activities of daily living (bathing, grooming, dressing,
      driving, etc.)



      S/P Carpal Tunnel Release                                                              2


      Degenerative Joint Disease - Moderate Or Greater (i.e., significant
                                                                                             3
      loss of joint space as confirmed by clinical examination and x-ray)


      S/ P TFCC Repair                                                                       2



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       HAND




     S/P Thumb Amputation                                                           4



     S/ P Hand Arthroplasty                                                         3



     S/ P Finger Amputation                                                         2



     S/P ORIF - Metacarpal Or Phalanx Fracture



     S/P Ulnar Collateral Ligament Repair



     S/ P Radial Collateral Ligament Repair


     Each surgical procedure t o revise or redo a failed Hand Surgery (i.e.,
     procedure that did not achieve intended results)


     Mediolateral Ligamentous Instability - Moderate Or Greater (i.e.,
     instability that significantly impairs the Player's ability to perform
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))


     Decreased Range OfThumb Motion Resulting In Loss Of Grip Or
     Pinch Strength - Moderate Or Greater (i.e., loss of grip or pinch
     strength that significantly impairs the Player's ability to perform            2
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))


     Decreased Range Of Finger Motion Resulting In Loss Of Grip Or
     Pinch Strength - Moderate Or Greater (i.e., loss of grip or pinch
     strength that significantly impairs the Player's ability to perform
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))




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   APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




         HIP




        S/P Total Hip Arthroplasty                                                            5


        S/P Arthroscopic Hip Procedure Including Labral Repair,
                                                                                              3
        Debridement, Removal Of Loose Bodies, or Chondroplasty


        S/P ORIF - Acetabular Fracture                                                        3



        S/P ORIF - Hip Fracture                                                               3



        S/P ORIF - Femur Fracture                                                             3


        Each surgical procedure to revise or redo a failed Hip Surgery (i.e.,
        procedure that did not achieve intended results)


        Acetabular Fracture - Closed Treatment                                                2



        Hip Fracture - Closed Treatment                                                       2


        Degenerative Joint Disease - Moderate Or Greater (i.e., significant
                                                                                              3
        loss of joint space as confirmed by clinical examination and x-ray)



        Loss Of Functional Range Of Motion - Moderate Or Greater (i.e., loss
        of motion that significantly impairs the Player's ability to perform
                                                                                              3
        normal activities of daily living (bathing, grooming, dressing,
        driving, etc.)



        S/P Athletic Pubalgia Repair, Sports Hernia Repair, Or Adductor
                                                                                              2
        Release


        S/P Proximal Hamstring Repair                                                         2




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APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




       KNEE
                                                                                  Point Value.



     S/P Total Knee Arthroplasty                                              5



     S/P Unicompartment Knee Arthroplasty                                     4



     S/P Patellectomy                                                         4



     S/P ACL Or PCL Reconstruction                                            4


     S/P ACL Or PCL Reconstruction With Partial Meniscectomy(ies) Or
                                                                              6
     Meniscal Repair(s)


     S/P ACL Or PCL Reconstruction With Partial Meniscectomy(ies) Or
                                                                              7
     Meniscal Repair(s) And Microfracture Or Chondral Resurfacing


     S/P ACL Or PCL Reconstruction With Microfracture Or Chondral
                                                                              6
     Resurfacing



     S/P ORIF - Patella Fracture                                              3



     S/P ORIF - Tibial Plateau Fracture                                       3



     S/P ORIF - Distal Femur Fracture                                         3



     S/P Arthroscopy - Microfracture Or Chondral Resurfacing                  3



     S/P Posterolateral Corner Reconstruction                                 3


     S/P Posterolateral Corner Reconstruction With Partial
                                                                              5
     Meniscectomy(ies) Or Meniscal Repair(s)




QUESTIONS                                                                                         82
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         S/P Posterolateral Corner Reconstruction With Microfracture or
                                                                                                5
         Chondral Resurfacing


         S/P Posterolateral Corner Reconstruction With Partial
         Meniscectomy(ies) Or Meniscal Repair(s) And Microfracture Or                           6
         Chondral Resurfacing


         S/P Patellar Tendon Repair                                                             3



         S/P Quadriceps Tendon Repair                                                           3


         S/P Arthroscopy - Partial Lateral Or Medial Meniscectomy(ies) Or
                                                                                                2
         Meniscal Repair(s)


         S/P MCL Or LCL Repair                                                                  2


         S/P MCL Or LCL Repair With Partial Meniscectomy(ies) Or Meniscal
                                                                                                3
         Repair(s)



         S/P MCL Or LCL Repair With Microfracture Or Chondral Resurfacing                       3


         S/P MCL Or LCL Repair With Partial Meniscectomy(ies) Or Meniscal
                                                                                                4
         Repair(s) And Microfracture Or Chondral Resurfacing


         Each surgical procedure to revise or redo a failed Knee Surgery (i.e.,
         procedure that did not achieve intended results)


         Symptomatic ACL Or PCL tear                                                            3



         Patellar Instability                                                                   2



         Quadriceps, Hamstring, Adductor, Or Gastroc/Soleus Tear With
         Residual Weakness - Moderate Or Greater (i.e., weakness that
                                                                                                2
         significantly impairs the Player's ability to perform normal activities
         of daily living (bathing, grooming, dressing, driving, etc.))




   8.>                                                                   VISIT NFLPLAYERBENEFITS , COM TO:
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APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




     Peripheral Nerve Injury - Moderate Or Greater (i.e., nerve injury that
     significantly impairs the Player's ability to perform normal activities
     of daily living (bathing, grooming, dressing, driving, etc.)}


     Degenerative Joint Disease - Moderate Or Greater (i.e., significant
                                                                                 3
     loss of joint space as confirmed by clinical examination and x-ray)


     Loss Of Functional Range Of Motion - Moderate Or Greater (i.e., loss
     of motion that significantly impairs the Player's ability to perform
                                                                                 3
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))



     S/P Arthroscopy - Chondroplasty Not Performed With Other
     Procedures)


     S/ P MCL Or LCL Reconstruction                                              3


     S/P MCL Or LCL Reconstruction With Partial Meniscectomy(ies) Or
                                                                                 4
     Meniscal Repair(s)


     S/P MCLOr LCL Reconstruction With Microfracture Or Chondral
                                                                                 4
     Resurfacing


     S/P MCL Or LCL Reconstruction With Partial Meniscectomy(ies) Or
                                                                                 5
     Meniscal Repair(s) And Microfracture Or Chondral Resurfacing


     S/P Peroneal Nerve Release



     S/P Arthroscopy - Chondroplasty With Lateral Release                        2



     S/P Patella Stabilization                                                   3



     Symptomatic MCL Tear with Moderate Or Greater Instability                   2



     Symptomatic LCL Tear                                                        2




QUESTIONS                                                                                       84
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         ANKLE




        S/P Ankle Fusion                                                                     5



        S/P ORIF - Ankle Fracture With Or Without Soft Tissue Repair                         3


        S/P Arthroscopy- Chondroplasty And Microfracture Or Chondral
                                                                                             3
        Resurfacing


        S/P Achilles Tendon Repair                                                           3



        S/P Lateral Ligament Repair Or Reconstruction                                        3



        S/P Deltoid Ligament Repair Or Reconstruction                                        3



        S/P Arthroscopy- Excision Of Spurs For Impingement                                   3



        Closed Or Open Treatment Of Subtalar Dislocation                                     2



        S/P Posterior Tibial Tendon Repair                                                   2



        S/P Tibialis Anterior Tendon Repair                                                  2




        S/P Peroneal Tendon Repair                                                           2



        S/P Tibial lntramedullary Nail Fixation Or ORIF                                      2



        S/P Arthroscopy- Chondroplasty And Removal Of Loose Bodies                           2




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APPENDIX A: POINT SYSTEM FOR ORTHOPEDIC IMPAIRMENTS




     S/P Excision Of Os Trigonum


     Each surgical procedure to revise or redo a failed Ankle Surgery (i.e.,
     procedure that did not achieve intended results)


     Posterior Tibial Tendon Insufficiency                                       3



     Tibialis Anterior Tendon Insufficiency                                      3


     Degenerative Joint Disease - Moderate Or Greater (i.e., significant
                                                                                 3
     loss of joint space as confirmed by clinical examination and x-ray)


     Loss Of Functional Range of Motion - Moderate Or Greater (i.e., loss
     of motion that significantly impairs the Player's ability to perform
                                                                                 3
     normal activities of daily living (bathing, grooming, dressing,
     driving, etc.))



     S/P Syndesmosis Repair                                                      2




     S/P Tarsal Tunnel Release




       FOOT




     S/P Subtalar Fusion                                                         5



     S/P Great Toe Amputation                                                    4



     S/P Lisfranc Joint Fusion                                                   4




QUESTIONS                                                                                       86
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        S/P ORIF - Lisfranc Injury                                                             3



        S/P ORIF - Navicular Fracture                                                          3



        S/P ORIF - Talus Fracture                                                              3



        S/P ORIF - Calcaneus Fracture                                                          3



        S/P ORIF - Metatarsal Fracture                                                         2



        S/P Great Toe Fusion                                                                   2



        S/P Lesser Toe Amputation                                                              2



        S/P Plantar Fascia I Release



        S/P Cheilectomy


        Each surgical procedure to revise or redo a failed Foot Surgery (i.e.,
        procedure that did not achieve intended results)


        Hallux Rigidus - Moderate Or Greater (i.e., significant loss of joint
        space as confirmed by clinical examination and x-ray)


        Hind-Foot Degenerative Joint Disease - Moderate Or Greater (i.e.,
        significant loss of joint space as confirmed by clinical examination                   2
        and x-ray)


        Hind-Foot Degenerative Joint Disease - Moderate Or Greater (i.e.,
        significant loss of joint space as confirmed by clinical examination                   2
        and x-ray)




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     S/P Morton's Neuroma Excision



     S/P Sesamoid Excision




QUESTIONS                                                                                   88
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   Appendix B
   Neurocognitive Disability Release, Waiver, and
   Covenant not to Sue

   To be eligible for Neurocognitive disability benefits under this Plan, you must sign a release confirming
   that you will not sue the League, any NFL Club, their employees or affiliates in an action alleging head
   and/or brain injury. This waiver is voided if your application is permanently denied or if you never
   receive neurocognitive benefits due to receipt of other Disability Plan benefits.

   Following is the text of the release:

        In consideration for the benefit provided under Article 60 of the Collective Bargaining Agreement
        between the NFL Management Council and the N FLPA, Player, on his own behalf and on behalf of
        his personal representatives, heirs, next of kin, executors, administrators, estate, assigns, and/or any
        person or entity on his behalf, hereby waives and releases and forever discharges the NFL and its
        Member Clubs, and their respective past, current, and future affiliates, directors, officers, owners,
        stockholders, trustees, partners, servants, and employees (excluding persons employed as players
        by a Club) and all of their respective predecessors, successors, and assigns (collectively, the "NFL
        Releasees") of and from any and all claims, actions, causes of actions, liabilities, suits, demands,
        damages, losses, payments, judgments, debts, dues, sums of money, costs and expenses, accounts,
        in law or equity, contingent or non-contingent, known or unknown, suspected or unsuspected
        ("Claims") that the Player has, had, may now have, or may have in the future arising out of, relating
        to, or in connection with any head and/or brain injury sustained during his employment by the Club,
        including without limitation head and/or brain injury of whatever cause and its damages (whether
        short-term, long-term, or death) whenever arising, including without limitation neurocognitive
        deficits of any degree, and Player covenants not to sue the NFL Releasees with respect to any such
        Claim or pursue any such Claim against the NFL Releasees in any forum. This release, waiver, and
        covenant not to sue includes without limitation all Claims arising under the tort laws of any state
        and extends to all damages (including without limitation short-term and/or long-term effects of
        such injury and death) whenever arising, including without limitation after execution of this release,
        waiver, and covenant not to sue. Player further acknowledges that he has read and understands
        section 1542 of the California Civil Code, which reads as follows:

           A general release does not extend to claims which the creditor does not know or suspect to exist
           in his favor at the time of executing the release, which if known by him must have materially
          affected his settlement with the debtor.




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   Player expressly waives and relinquishes all rights and benefits under that section and any law
   of any jurisdiction of similar effect with respect to the release of any unknown or unsuspected
   claims released hereunder that Player may have against the NFL Releasees. This release, waiver and
   covenant not to sue shall have no effect upon any right that Player may have to insurance or other
   benefits available under (1) any Collective Bargaining Agreement between the NFL Management
   Council and the NFLPA, (2) the Final Class Action Settlement in In re: National Football League Players'
   Concussion Injury Litigation, Civ. Action No. 2:12-md-02323-AB, MDL No. 2323, or (3) the workers'
   compensation laws, and Player acknowledges and agrees that such rights, if any, are his sole and
   exclusive remedies for any Claims.

   Player acknowledges and agrees that the provision of the benefit under Article 65 shall not be
   construed as an admission or concession by the NFL Releasees or any of them that NFL football
   caused or causes, in whole or in part, the medical conditions covered by the benefit, or as an
   admission of liability or wrongdoing by the NFL Releasees or any of them, and the NFL Releasees
   expressly deny any such admission, concession, liability, or wrongdoing.




QUESTIONS                                                                                               9Q
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   Appendix C
   Players awarded T&P benefits from the
   Pension Plan before January 1, 2015

   If you were awarded T&P benefits from the Bert Bell/Pete Rozelle NFL Player Retirement Plan ("Pension
   Plan") in the Active Football, Act ive Nonfootball, or Inactive A categories before January 1, 2015,
   a portion of your benefit is paid by the Pension Plan and the remaining portion is paid from the
   Disability Plan.

   The chart below shows the amounts payable from each Plan to many Players. A Player whose Disability
   Credits under the Pension Plan are higher than $4,000 will receive less from this Plan but will still receive
   the same Total Combined amount shown below. For example, a Player who receives $5,000 from the
   Pension Plan will receive $6,250 in Inactive A T&P benefits from this Plan, but will still receive a total of
   $11,250.

   The portion paid from this Plan ceases effective April 1, 2031 unless this Plan is amended.


                                                                                            T&P BENEFIT PAYABLE
                                                  T&P BENEFIT PAYABLE
                                                                                               Effective April 1, 2031




        Active
                               $4,000           $18,084             $22,084               $4,000                     $0
        Football


        Active
                               $4,000            $9,750             $13,750               $4,000                     $0
        Nonfootball


        Inactive A             $4,000            $7,250             $11,250               $4,000                     $0



   The rules in this area are complex and may cause your benefits to be lower than the total combined
   amounts shown in the table. This may occur, for example, if:

        you took an Early Payment Benefit under the Pension Plan,

        your T&P benefits began on or after your Normal Retirement Date,

        you have Special Credits under the Pension Plan,




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  your benefits under the Pension Plan increase after the Pension Plan benefit offset was initially
  applied to your T&P benefit or

  a portion of your benefits are subject to a Qualified Domestic Relations Order, or QDRO.

Special Rules exist for Players who were receiving T&P benefits immediately before September 1,
2011, and September 1, 2014, so that they do not have a benefit reduction from certain changes to the
Pension Plan that went into effect as of those dates.

Your rights to T&P benefits, including your rights to continued eligibility and requests for
reclassification, are governed by the Pension Plan.




      Under the Pension Plan, effective April 1, 2024, receipt of Social Security disability benefits will
      no longer establish that you qualify for continuation ofT&P benefits.




If you have any questions about T&P benefits awarded before January 1, 2015, refer to the Pension Plan
document or contact the NFL Player Benefits Office.


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Beginning January 1, 2024, most Players who are receiving Inactive A T&P benefits are subject to a Social
Security Disability Insurance ("5501") Offset. The only Players excluded from the SSDI Offset are those
who are age 65 and older and those who are 88 Eligible Players under the 88 Plan. If the 5501 Offset
applies to you, then your monthly Inactive A T&P benefits from this Plan will be reduced by the monthly
5501 payment you received in the prior year, minus government insurance premiums.

If the Plan is aware that you receive 5501 payments, but not the amount for the prior year, $3,000 will
be w ithheld from your monthly payment. Upon providing evidence of the actual 5501 payment, your
benefits will be corrected.

It is your responsibility to inform the Plan about your 5501 benefit payment amounts. If the Plan has not
reduced your Inactive A benefit payments because you have failed to inform the Plan that you receive
5501 benefits, the Plan will, upon learning that you receive 5501 benefits, immediately suspend your T&P
benefit payments until you provide evidence of your payment amounts for all past periods and the Plan
has recovered all past overpayments.




QUESTIONS
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       EMPLOYEE BENEFITS SECURITY ADMINISTRATION UNITED STATES DEPARTMENT OF LABOR


      ONLINE SECURITY TIPS
      You can reduce the risk of fraud and loss to your retirement account by following these
      basic rules:

      • REGISTER, SET UP AND ROUTINELY MONITOR YOUR ONLINE ACCOUNT
              • Maintaining on line access to your retirement account allows you to protect and
                manage your investment.
              • Regularly checking your retirement account reduces the risk of fraudulent
                account access.
              • Failing to register for an online account may enable cybercriminals to assume
                your online identify.

      • US£ STRONG AND UNIQUE PASSWORDS
              • Don't use dictionary words.
              • Use letters {both upper and lower case), numbers, and special characters.
              • Don't use letters and numbers in sequence (no "abc", " 567", etc.).
              • Use 14 or more characters.
              • Don't write passwords down.
              • Consider using a secure password manager to help create and track passwords.
              • Change passwords every 120 days, or if there's a security breach .
              • Don't share, reuse, or repeat passwords.

      • USE MULTI-FACTOR AUTHENTICATION
              • Multi-Factor Authentication (also called two-factor authentication) requires a
                second credential to verify your identity {for example, entering a code sent in
                real-time by text message or email).

      • KEEP PERSONAL CONTACT INFORMATION CURRENT
              • Update your contact information when it changes, so you can be reached if
                there's a problem.
              • Select multiple communication options.

      • CLOSE OR DELETE UNUSED ACCOUNTS
              • The smaller your on-line presence, the more secure your information. Close
                unused accounts to minimize your vulnerability.
              • Sign up for account activity notifications.

      • BE WARY OF FREE WI-Fl
              • Free Wi-Fi networks, such as the public Wi-Fi available at airports, hotels, or
                coffee shops pose security risks that may give criminals access to your personal
                information.
              • A better option is to use your cellphone or home network.

      • BEWARE OF PHISHING ATTACKS
              • Phishing attacks aim to trick you into sharing your passwords, account numbers,
                and sensitive information, and gain access to your accounts. A phishing message
                may look like it comes from a trusted organization, to lure you to click on a
                dangerous link or pass along confidential information.


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ONLINE SECURITY TIPS                                                                                       2




      • Common warning signs of phishing attacks include:
        »  A text message or email that you didn't expect or that comes from a person or service you don't
           know or use.
        »  Spelling errors or poor grammar.
        »  Mismatched links (a seemingly legitimate link sends you to an unexpected address). Often, but
           not always, you can spot this by hovering your mouse over the link without clicking on it, so that
           your browser displays the actual destination.
        »  Shortened or odd links or addresses.
        »  An email request for your account number or personal information (legitimate providers should
           never send you emails or texts asking for your password, account number, personal information,
           or answers to security questions).
        »  Offers or messages that seem too good to be true, express great urgency, or are aggressive and
           scary.
        »  Strange or mismatched sender addresses.
        »  Anything else that makes you feel uneasy.

• USE ANTIVIRUS SOFTWARE AND KEEP APPS AND SOFTWARE CURRENT
      • Make sure that you have trustworthy antivirus software installed and updated to protect your
        computers and mobile devices from viruses and malware. Keep all your software up to date with the
        latest patches and upgrades. Many vendors offer automatic updates.

• KNOW HOW TO REPORT IDENTITY THEFT AND CYBERSECURITY INCIDENTS
      • The FBI and the Department of Homeland Security have set up valuable sites for reporting
        cybersecurity incidents:
        »   https://www.fbi.gov/file-reP-os;tory/cyber-incident-reporting-united-message-final.pdf/ view
        »   https://www.cisa.gov/reporting-cyber-incidents




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